Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 1 of 21




   EXHIBIT A
                                     Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 2 of 21
                                                                                    Impinj, Inc. v. NXP USA, Inc.
                                                             U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                      JOINT TRIAL EXHIBIT LIST
                                                                                          (January 24, 2024)

Exh. #     Date       Description                                                                    Bates Number                        Sponsoring      Stipulation to       Objection            Date
                                                                                                                                           Witness           Admit                               Admitted
  1      2/14/2012    U.S. Patent No. 8,115,597 (Amtmann NDCA Dep. Ex. 7; Peach NDCA Dep. Ex. 2)                                         Oliver; Peach                    402, 403

  2      4/25/2017    U.S. Patent No. 9,633,302 (Heinrich NDCA Dep. Ex. 5)                                                                 Heinrich            X
  3      2/14/2012    U.S. Patent No. 8,115,597 File History                                            IMPINJ_NXP_0000755 -                Oliver                        402, 403
                                                                                                        IMPINJ_NXP_0001009
  4      4/27/2017    U.S. Patent No. 9,633,302 File History                                            IMPINJ_NXP_0000435 -               Heinrich            X
                                                                                                        IMPINJ_NXP_0000567
 10        2017       Monza R6 Tag Chip Datasheet - IPJ-W1700, Version 5.0, 2017 Impinj                 IMPINJ_NXP_0001540 -                Oliver             X
                                                                                                        IMPINJ_NXP_0001560
 11      9/28/2018    TechnInsights CircuitVision Analysis Report of the Analog Circuitry and EEPROM on IMPINJ_NXP_0002004 -                Oliver                        402, 403, 106,
                      the NXP UCODE8 SL3S1205 RFID Integrated Circuit (Heinrich NDCA Dep. Ex. 16) IMPINJ_NXP_0002127                                                      802, F

 16       Undated     Impinj Schematics                                                                   IMPINJ_NXP_WDTEX_00006191 -       Oliver                        402, 403
                                                                                                          IMPINJ_NXP_WDTEX_00006515
 17        2020       Impinj M700 Series Tag Chip Datasheet - IPJ-M30A-A00; IPJ-M750A-A00, Version        IMPINJ_NXP_WDWASH_00004219 -      Oliver             X
                      4.0, 2020, Impinj, Inc.                                                             IMPINJ_NXP_WDWASH_00004242
 18      10/28/2019   UCODE 8/8M Product data sheet Rev. 3.3 (Amtmann WDWA Dep. Ex. 10)                   NXP-IMP-NDCAL-00000354 -         Brandl;             X
                                                                                                          NXP-IMP-NDCAL-00000389          Amtmann
 19      10/17/2016   UCODE8 Analog Requirement Specification, Doc Rev 1.0, 10/17/2016 (Brandl NDCA NXP-IMP-NDCAL-00005729 -               Brandl                         402, 403
                      Dep. Ex. 5; Brandl WDTX Dep. Ex. 6)                                                 NXP-IMP-NDCAL-00005749
 21      12/15/2020   UCODE 9 Datasheet - (SL3S1206, Rev. 3.0 - Dec 15, 2020 (Brandl WDTX Dep. Ex. NXP-IMP-NDCAL-00207839 -              Brandl; Zenz          X
                      19; Zenz NDCA Dep. Ex. 6)                                                           NXP-IMP-NDCAL-00207867
 22        2021       NXP UCODE 9 Fact Sheet re: Accelerated The IoT with UCODE 9 (Brandl NDCA            NXP-IMP-NDCAL-00207881 -         Brandl;             X
                      Dep. Ex. 2; Amtmann WDWA Dep. Ex. 9; Amtmann WDTX Dep. Ex. 9; Brandl NDCA NXP-IMP-NDCAL-00207882                    Amtmann
                      Dep. Ex. 13)
 49      2013-2019    Revenue for M5 and M6 (2013-2019 1H)                                                IMPINJ_NXP_0002243 -             Dossett                        402, 403 (for trial)
                                                                                                          IMPINJ_NXP_0002243
 51       5/8/2014    "Impinj Monza R6¶ -- Another Significant Step in RFID's Progress," ChainLink, Bill  IMPINJ_NXP_0046363 -              Diorio                        402, 403, 802
                      McBeath, Published on May 8, 2014                                                   IMPINJ_NXP_0046363
 52      3/12/2020    "ACE Awards honor innovators in engineering and technology - ACE Awards Names IMPINJ_NXP_0046365 -                    Diorio                        402, 403, 802
                      NXP Company of the Year," EDN (Mar 12,2020)                                         IMPINJ_NXP_0046369
 53      8/25/2021    "SMARTRAC Extends Portfolio With New RFID Inlays Based on Monza R6 Chip,"           IMPINJ_NXP_0046531 -              Diorio                        402, 403, 802
                      Barcode.com (Aug 25, 2021)                                                          IMPINJ_NXP_0046532
 54       4/2/2014    "Impinj Introduces Monza® R6 Tag Chip to Drive Retail Applications," yahoo! Finance IMPINJ_NXP_0046533 -              Diorio                        402, 403, 802
                      (Apr 2, 2014)                                                                       IMPINJ_NXP_0046553
 55       5/8/2014    "Impinj Monza R6 -- Another Significant Step in RFID's Progress," ChainLink, Bill   IMPINJ_NXP_0046554 -              Diorio                        402, 403, 802
                      McBeath, Published on May 8, 2014                                                   IMPINJ_NXP_0046556
 56      9/27/2017    "Impinj Introduces Monza R6-A RAIN RFID Tag Chip for European Retail Industry,"     IMPINJ_NXP_0046557 -              Diorio                        402, 403, 802
                      Intrado Globe Newswire (Sept.27, 2017)                                              IMPINJ_NXP_0046560
 57      7/22/2015    "Smartrac extends Portfolio With New RFID Inlays - Based on the Impinj Monza R6 IMPINJ_NXP_0046561 -                  Diorio                        402, 403, 802
                      chip, DogBone and ShortDipole inlays and tags have operating frequencies of 860 z IMPINJ_NXP_0046561
                      to0 960 MHz," L&NW Webpage (July 22, 2015)
 58      9/27/2017    "Impinj Introduces Monza R6-A RAIN RFID Tag Chip for European Retain Industry," IMPINJ_NXP_0046562 -                  Diorio                        402, 403, 802
                      RFID Solutions Online-AVertMarkets IT Group for RFID Technologies, (Sept, 27,       IMPINJ_NXP_0046563
                      2017)
 59      9/16/2021    "Checkpoint Systems Announces the Launch of First Inlays With The New Impinj        IMPINJ_NXP_0047183 -              Diorio                        402, 403, 802
                      M700 Chips," Checkpoint (Sept. 16, 2021)                                            IMPINJ_NXP_0047185
 60      9/16/2021    "New developments in RFID label Ices: an overview," Danny Haak (Sept. 16, 2021)     IMPINJ_NXP_0047186 -              Diorio                        402, 403, 802
                                                                                                          IMPINJ_NXP_0047192
 61      4/13/2021    Press Release - "Invengo Technology announces new inlays and labels for Impinj      IMPINJ_NXP_0047193 -              Diorio                        402, 403, 802
                      Monza R6 Chips," Invengo (Apr 13, 2015                                              IMPINJ_NXP_0047194
 62      9/14/2018    "Avery Dennison Introduces two New UHF RFID Inlay Products," Packaging Europe, IMPINJ_NXP_0047195 -                   Diorio                        402, 403, 802
                      (Sept. 14, 2018)                                                                    IMPINJ_NXP_0047197




                                                                                            Page 1 of 20
                                      Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 3 of 21
                                                                                       Impinj, Inc. v. NXP USA, Inc.
                                                                U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                         JOINT TRIAL EXHIBIT LIST
                                                                                             (January 24, 2024)

Exh. #     Date       Description                                                                            Bates Number                   Sponsoring   Stipulation to       Objection          Date
                                                                                                                                             Witness         Admit                             Admitted
 63      9/16/2021    "UHF RFID Inlay: Bling - Ideal for small item-level tagging," Avery Dennison, (Sept.   IMPINJ_NXP_0047198 -             Diorio                      402, 403, 802
                      16, 2021)                                                                              IMPINJ_NXP_0047199
 64      9/16/2021    "UHF RFID Inlay: Midas Flagtag - Outperforming tag for metallic surfaces and           IMPINJ_NXP_0047200 -             Diorio                      402, 403, 802
                      everyday objects," Avery Dennison, (Sept. 16, 2021)                                    IMPINJ_NXP_0047200
 65      9/16/2021    "DELO, Mühlbauer, and Impinj Achieve Milestone in Efficient RAIN RFID Label            IMPINJ_NXP_0047202 -             Diorio                      402, 403, 802
                      Manufacturing," DELO Press, (Sept. 16, 2021)                                           IMPINJ_NXP_0047204
 66      7/22/2015    "RFID Chip Tags IoT Aware," EE|Times, Rick Merritt, (Jul 22, 2015)                     IMPINJ_NXP_0047205 -             Diorio                      402, 403, 802
                                                                                                             IMPINJ_NXP_0047207
 67      9/16/2021    "Smartrac extends Portfolio With New RFID Inlays - Based on the Impinj Monza R6        IMPINJ_NXP_0047208 -             Diorio                      402, 403, 802
                      chip, DogBone and ShortDipole inlays and tags have operating frequencies of 860 z      IMPINJ_NXP_0047208
                      to0 960 MHz," L&NW Webpage (Sept. 16, 2021))
 68      7/23/2020    "Xindeco IOT launches RFID inlay series based on Impinj M700 chips," Abby Wu -    IMPINJ_NXP_0047209 -                  Diorio                      402, 403, 802
                      Xindeco (RFID) (Published on July 23, 2020)                                       IMPINJ_NXP_0047212
 69      4/20/2016    "SML Group Delivers Retain RFID Inlays and Labels with the Latest Impinj Monza R6 IMPINJ_NXP_0047213 -                  Diorio                      402, 403, 802
                      Chip," (Cision PRWeb) (April 20, 2016)                                            IMPINJ_NXP_0047214
 70       5/2/2016    "TexTrace Unveils New Woven RFID Brand Label with Impinj Monza R6-P at RFID       IMPINJ_NXP_0047215 -                  Diorio                      402, 403, 802
                      Journal Live," (Cision PRWeb) (May 2, 2016)                                       IMPINJ_NXP_0047216
 71       6/2/2015    "SML Group Launches GB3_R6 and MAZE_R6 Inlays Based on Impinj Monza® R6 IMPINJ_NXP_0047217 -                            Diorio                      402, 403, 802
                      Chip," RFID Solutions Online (June 2, 2015)                                       IMPINJ_NXP_0047220
 72      7/28/2015    "Century Launches New Generation Inlays with the Innovative Impinj M700 Chips,    IMPINJ_NXP_0047221 -                  Diorio                      402, 403, 802
                      Century (July 28, 2020)                                                           IMPINJ_NXP_0047222
 73                   Impinj Product Report Table                                                       IMPINJ_NXP_0047386 -                 Dossett                      402, 403
                                                                                                        IMPINJ_NXP_0047386
 74      3/25/2017    "Adient Automates Asset Management with RAIN RFID, Impinj, Inc. (Mar 25, 2017)    IMPINJ_NXP_0049388 -                  Diorio                      402, 403, 802
                                                                                                        IMPINJ_NXP_0049392
 75       Undated     List of customer stories from Impinj.com Library                                  IMPINJ_NXP_0049699 -                  Diorio                      402, 403, 802
                                                                                                        IMPINJ_NXP_0049701
 76       Undated     UCODE 7 and UCODE 8 Product Family Shipping Data                                  NXP-IMP-NDCAL-00206326 -             Dossett;                     402, 403
                                                                                                        NXP-IMP-NDCAL-00206326               Kodritsch
 77       3/5/2019    UCODE 7 data sheet, Rev. 4.0 - 5 March 2019 (SL3S1204)                            IMPINJ_NXP_0001894 -                 Amtmann           X
                                                                                                        IMPINJ_NXP_0001933
 78      11/19/2018   UCODE 8/8m data sheet, Rev. 3.2 - 19 November 2018 (SL3S1205_15)                  IMPINJ_NXP_0001934 -                  Brandl           X
                                                                                                        IMPINJ_NXP_0001969
 79      7/26/2021    ARC Enrolled Inlays                                                               IMPINJ_NXP_0046464 -                Thompson                      402, 403, 802
                                                                                                        IMPINJ_NXP_0046497
 80       Undated     Belt U9 datasheet                                                                 IMPINJ_NXP_0046498 -                Thompson                      402, 403, 802
                                                                                                        IMPINJ_NXP_0046510
 81      7/26/2021    Checkpoint Earns ARC Cert with NXP’s UCODE 9 IC                                   IMPINJ_NXP_0046511 -                Thompson                      402, 403, 802
                                                                                                        IMPINJ_NXP_0046521
 82       4/6/2021    SML RFID Launches High Performance GB3U9, one of the first Ucode9 inlays in the IMPINJ_NXP_0046522 -                  Thompson                      402, 403, 802
                      market with broad retail certification from University of Auburn RFID Lab (ARC)   IMPINJ_NXP_0046524

 83                   Scott Emmet Thompson Curriculum Vitae                                                                                 Thompson                      402, 403, 802
 84      1/16/2019    Exhibit E to Initial Expert Report of Dr. Scott E. Thompson Concerning Infringement                                   Thompson                      402, 403, MIL
                      (Impinj's Supplemental Responses to Defendant's First Set of Interrogatories,
                      January 16, 2019, with Ex. 4 - U.S. Patent No. 9,633,302, charting Monza products)

 85                   Exhibit F to Initial Expert Report of Dr. Scott E. Thompson Concerning Infringement                                   Thompson                      402, 403, 802, MIL
                      (Ex. F - Infringement Claim Chart for U.S. Patent No. 9,633,302, charting UCODE 7
                      and UCODE 8 products)
 86       Undated     PI Thickness for Large Pad                                                             NXP-IMP-NDCAL-00048182 -         Brandl
                                                                                                             NXP-IMP-NDCAL-00048182




                                                                                                   Page 2 of 20
                                      Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 4 of 21
                                                                                      Impinj, Inc. v. NXP USA, Inc.
                                                               U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                        JOINT TRIAL EXHIBIT LIST
                                                                                            (January 24, 2024)

Exh. #     Date       Description                                                                          Bates Number                    Sponsoring   Stipulation to         Objection       Date
                                                                                                                                            Witness         Admit                            Admitted
 87       5/5/2014    Teardown sheet (TechInsights CircuitVision Analysis of the Analog Circuitry on theIMPINJ_NXP_0002128 -                 Oliver                      106, 802, F, 402,
                      NXP UCODE 7 RFID IC (Heinrich NDCA Dep. Ex. 17))                                  IMPINJ_NXP_0002242                                               403
 88      5/25/2023    UCODE 9 (AS-5607 / SL3S1206 Images                                                IMPINJ_NXP_0046525 -                 Oliver                      F
                                                                                                        IMPINJ_NXP_0046529
 89      8/30/2013    Pad Shape Presentation - Impinj - Mustang Go/No-go for Kelso, Aug 30th, 2013      IMPINJ_NXP_0047294 -                Heinrich;                    802
                      (Diorio Dep. Ex. 16)                                                              IMPINJ_NXP_0047357                   Diorio
 90        2018       Impinj Monza R6 -A/B/P Wafer Specification - IPJ-W1730-K00; IPJ-W1731-K00; IPJ- IMPINJ_NXP_DDEL_00002831 -             Oliver           X
                      W1710-K00, Version 1.0, 2018 Impinj, Inc.                                         IMPINJ_NXP_DDEL_00002841
 92       5/2/2016    Impinj Endur Whitepaper, May 2nd, 2016, Impinj, Rev.3.0                           IMPINJ_NXP_WDWASH_00004063 -        Heinrich                     402, 403, 802,
                                                                                                        IMPINJ_NXP_WDWASH_00004074
 93        2021       Wafer Specification - Impinj M730 and M750 EndPoint IC Wafer Specification - IPJ- IMPINJ_NXP_WDWASH_00005050 -        Heinrich          X
                      M730A-A00; IPJ-M750A-A00                                                          IMPINJ_NXP_WDWASH_00005057
 94       Undated     M700 post processing steps - 300mm Monza process flow                             IMPINJ_NXP_WDWASH_00006520 -        Heinrich          X
                                                                                                        IMPINJ_NXP_WDWASH_00006520
 95       3/5/2019    UCODE 7 Product data sheet, Rev. 4.0 (Zenz NDCA Dep. Ex. 4)                       NXP-IMP-NDCAL-00000314 -           Amtmann,           X
                                                                                                        NXP-IMP-NDCAL-00000353               Zenz
 96       3/6/2019    Datasheet (7m)                                                                    NXP-IMP-NDCAL-00000390 -           Amtmann            X
                                                                                                        NXP-IMP-NDCAL-00000423
 97      11/24/2014   Avery documents                                                                   NXP-IMP-NDCAL-00005063 -             Zach                        Description does
                                                                                                        NXP-IMP-NDCAL-00005074                                           not match
                                                                                                                                                                         document, 402,
                                                                                                                                                                         403,
 99       Undated     UCODE 7 & Part Number and FAB Name Report                                            NXP-IMP-NDCAL-00206325 -          Brandl           X
                                                                                                           NXP-IMP-NDCAL-00206325
 100      Undated     Bump size spreadsheet                                                                NXP-IMP-NDCAL-00206372 -           Zenz            X
                                                                                                           NXP-IMP-NDCAL-00206372
 101      Undated     Bump size spreadsheet                                                                NXP-IMP-NDCAL-00206373 -           Zenz            X
                                                                                                           NXP-IMP-NDCAL-00206373
 102      Undated     Bump size spreadsheet                                                                NXP-IMP-NDCAL-00206374 -           Zenz            X
                                                                                                           NXP-IMP-NDCAL-00206374
 103     12/24/2016   Large Pad Product Analysis Report                                                    NXP-IMP-NDCAL-00206389 -           Zenz            X
                                                                                                           NXP-IMP-NDCAL-00206398
 104      Undated     Bump Mask Drawing                                                                    NXP-IMP-NDCAL-00206456 -           Zenz            X
                                                                                                           NXP-IMP-NDCAL-00206462
 105     4/10/2020    Gold Bump Qualification Report                                                       NXP-IMP-NDCAL-00206463 -           Zenz            X
                                                                                                           NXP-IMP-NDCAL-00206479
 106     5/25/2020    Bump Package Construction Analysis                                                   NXP-IMP-NDCAL-00206480 -           Zenz            X
                                                                                                           NXP-IMP-NDCAL-00206493
 107      Undated     Bump size spreadsheet                                                                NXP-IMP-NDCAL-00206497 -           Zenz            X
                                                                                                           NXP-IMP-NDCAL-00206497
 108      Undated     Bump size spreadsheet                                                                NXP-IMP-NDCAL-00206502 -           Zenz            X
                                                                                                           NXP-IMP-NDCAL-00206502
 109      Undated     Bump size spreadsheet                                                                NXP-IMP-NDCAL-00206503 -           Zenz            X
                                                                                                           NXP-IMP-NDCAL-00206503
 110      Undated     Bump size spreadsheet                                                                NXP-IMP-NDCAL-00206504 -           Zenz            X
                                                                                                           NXP-IMP-NDCAL-00206504
 111      2/7/2017    Delta Qualification Report                                                           NXP-IMP-NDCAL-00206505 -           Zenz            X
                                                                                                           NXP-IMP-NDCAL-00206514
 112      Undated     Application Sheet                                                                    NXP-IMP-NDCAL-00206546 -           Zenz            X
                                                                                                           NXP-IMP-NDCAL-00206546
 113      5/5/2021    Dicing Presentation                                                                  NXP-IMP-NDCAL-00206547 -           Zenz            X
                                                                                                           NXP-IMP-NDCAL-00206547




                                                                                                 Page 3 of 20
                                     Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 5 of 21
                                                                                      Impinj, Inc. v. NXP USA, Inc.
                                                               U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                        JOINT TRIAL EXHIBIT LIST
                                                                                            (January 24, 2024)

Exh. #     Date       Description                                                                             Bates Number                 Sponsoring   Stipulation to         Objection      Date
                                                                                                                                            Witness         Admit                           Admitted
 114     5/11/2020    Blade Dicing Process                                                                    NXP-IMP-NDCAL-00206550 -        Zenz            X
                                                                                                              NXP-IMP-NDCAL-00206550
 115      Undated     Bump Measurement Spreadsheet                                                            NXP-IMP-NDCAL-00206551 -        Zenz            X
                                                                                                              NXP-IMP-NDCAL-00206551
 116     11/13/2020   Assembly Report                                                                         NXP-IMP-NDCAL-00206552 -        Zenz            X
                                                                                                              NXP-IMP-NDCAL-00206552
 117      8/6/2020    Wafer Qualification Report                                                              NXP-IMP-NDCAL-00207817 -        Zenz            X
                                                                                                              NXP-IMP-NDCAL-00207838
 119      Undated     UCODE 7 Bump Image                                                                      NXP-IMP-NDCAL-00209510 -     Thompson           X
                                                                                                              NXP-IMP-NDCAL-00209510
 120      Undated     UCODE 8 Large Pad Image                                                                 NXP-IMP-NDCAL-00209511 -     Thompson           X
                                                                                                              NXP-IMP-NDCAL-00209511
 121     8/17/2021    Bump Discoloration Verification Report                                                  NXP-IMP-NDCAL-00209652 -     Thompson           X
                                                                                                              NXP-IMP-NDCAL-00209665
 124      2/5/2020    NXP USA, Inc. v. Impinj, Inc., IPR2020-00516, Paper 1, Petition for Inter Partes                                     Thompson                      402, 403, Agreed
                      Review, Title: RFID Integrated Circuits With Channels for Reducing Misalignment Re:                                                                MIL
                      U. S. Patent No. 9,633,302 (PTAB)
 126                  NXP USA, Inc. v. Impinj, Inc., IPR2020-00516, Exhibit 2001, Declaration of Scott                                     Thompson                      402, 403, 802
                      Thompson
 127       1965       Moore, G. E., Cramming More Components on Integrated Circuits, Electronics, vol.                                     Thompson                      802
                      38,
                      no. 8, p. 114 (1965)
 128       1975       Moore, G. E., Progress in Digital Integrated Electronics, IEDM Tech. Digest, vol. 21,                                Thompson                      802
                      p. 11 (1975)

 129       2006       Scott E. Thompson, Srivatsan Parthasarathy, Moore's law: the future of Si                                            Thompson                      802
                      microelectronics, Materials Today, vol. 9, issue 6, p. 20–25 (June 2006)
 130       2008       U.A. Bakshi and A.P. Godse, Linear Integrated Circuits at 1-1 (3d ed. 2008)                                          Thompson                      802
                      (excerpts) (IPR2020-00516 Ex. 2003)
 131       2001       Michael Quirk & Julian Serda, Semiconductor Manufacturing Technology at 5 (2001), IMPINJ_NXP_WDWASH_00004887 -       Thompson                      802
                      Attachment 2 to Declaration of Scott E. Thompson in Support of Petition for Inter IMPINJ_NXP_WDWASH_00004899
                      Partes Review of U.S. Patent No. 7,538,444 (IPR2021-00003 Ex. 1007)

 132      Multiple    Daniel M. Dobkin, The RF in RFID: Passive UHF RFID in Practice at 9 (2008)                                           Thompson                      802
                      (excerpts) (IPR2020-00516 Ex. 2005)
 133       2010       Holmberg et al., E-maintenance at 200 (2010)                                                                         Thompson                      802
 134       2018       Simone Zuffanelli, Antenna                                                                                           Thompson                      802
                      Design Solutions for RFID Tags Based on Metamaterial-Inspired Resonators and
                      Other
                      Resonant Structures at 16 (2018)
 135                  Advances in Embedded and Fan-Out Wafer Level Packaging Technologies at 419                                           Thompson                      802

 136      5/4/2010    U.S. Patent No. 7,709,954                                                                                            Thompson                      402, 403
 137        2008      R. Doering & Y Nishi., Handbook of Semiconductor Manufacturing Technology, at 16-                                    Thompson                      802
                      1 (2d ed. 2008)
 138     7/29/2018    Manufacturing Lounge, Additive vs. subtractive manufacturing – what’s the                                            Thompson                      402, 403
                      difference?, http://www.manufacturinglounge.com/additive-vs-subtractive-
                      manufacturing-whatsthe-
                      difference/ (July 29, 2018)
 139     2/28/2019    DigitalAlloys, Comparison of Additive Manufacturing & CNC Machining,                                                 Thompson                      402, 403
                      https://www.digitalalloys.com/blog/comparison-additive-manufacturing-cnc-machining/
                      (Feb. 28, 2019)
 141     8/20/2013    U.S. Patent No. 8,511,569                                                                                            Thompson                      402, 403, 802




                                                                                                 Page 4 of 20
                                     Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 6 of 21
                                                                                     Impinj, Inc. v. NXP USA, Inc.
                                                              U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                       JOINT TRIAL EXHIBIT LIST
                                                                                           (January 24, 2024)

Exh. #     Date       Description                                                                         Bates Number                     Sponsoring       Stipulation to         Objection     Date
                                                                                                                                             Witness            Admit                          Admitted
 142      Undated     RFIDeal, https://www.cbinsights.com/company/                                                                          Thompson                         402, 403, 802
                      rfideal
 143       2013       Passive Full-Wave MOSFET Rectifiers for Electromagnetic Harvesting Available at:                                      Thompson                         402, 403, 802
                      https://uwspace.uwaterloo.ca/bitstream/handle/10012/7722/Yilmaz_Mehmet.pdf?sequ
                      ence=1&isAllowed=y

 144       2007       Semiconductor Packaging Technologies                                                                                  Thompson              X
                      Available at https://www.nxp.com/files-
                      static/wireless_comm/doc/white_paper/WIREBONDBYNDWP.pdf
 145     6/18/2020    Structure and Properties of Additive Manufactured Polymer Components - Available                                      Thompson                         802
                      at:
                      https://books.google.com/books?id=HDLXDwAAQBAJ&pg=PA37&dq=carbon+black+
                      commonly+used+printed+conductors&hl=en&newbks=1&newbks_redir=0&source=gb
                      _mobile_search&sa=X&ved=2ahUKEwi307XBwrX5AhXeSDABHTdRB1s4ChDoAXoE
                      CAMQAw#v=onepage&q=carbon%20black%20commonly%20used%20printed%20co
                      nductors&f=false
 146       2001       The back-end process: Step 7 – Solder bumping step by step Available at                                               Thompson                         402, 403, 802
                      https://sst.semiconductor-digest.com/2001/07/the-back-end-process-step-7-solder-
                      bumping-step-by-step/
 147      Undated     Standard FlipChip – Repassivation (PBO or BCB) Available at                                                           Thompson                         402, 403, 802
                      https://www.flipchip.com/sfcrepass.html
 149     9/27/2017    "Impinj Introduces Monza R6-A RAIN RFID Tag Chip for European Retail Industry,"      IMPINJ_NXP_0046557 -               Diorio                         402, 403, 802
                      Intrado Globe Newswire (Sept. 27, 2017)                                              IMPINJ_NXP_0046560
 150     10/21/2020   "IMPINJ Digital Life for Everyday Items - 4Q20 Endpoint IC Summit," Impinj, (Oct 21, IMPINJ_NXP_0046836 -               Diorio                         402, 403, 802
                      2020)                                                                                IMPINJ_NXP_0046888
 151     1/27/2021    "IMPINJ Digital Life for Everyday Items - 1Q210 Endpoint IC Summit," Impinj, (Jan    IMPINJ_NXP_0046889 -               Diorio                         402, 403, 802
                      27, 2021))                                                                           IMPINJ_NXP_0046957
 154     4/10/2021    "Endpoint IC Strategy," Impinj (Apr 10, 2021)                                        IMPINJ_NXP_0047253 -               Diorio                         802
                                                                                                           IMPINJ_NXP_0047293
 155     11/19/2014   Meeting Notes Avery-NXP, UCODE 8 specification, Greensboro, 2014/11/19 (Zenz         NXP-IMP-NDCAL-00005113 -        Zach; Zenz             X
                      NDCA Dep. Ex. 11)                                                                    NXP-IMP-NDCAL-00005115
 156     11/23/2006   PowerPoint Presentation: "NXP UCODE 8 Product Options - Cost - Bizz Figures"         NXP-IMP-NDCAL-00005235 -           Zach                X
                                                                                                           NXP-IMP-NDCAL-00005235
 157     9/10/2014    UCODE 8 Status report & next steps, PowerPoint presentation by Hermann Zach          NXP-IMP-NDCAL-00005238 -        Zach; Brandl                      402, 403
                      (Brandl NDCA Dep. Ex. 10; Zach WDTX Dep. Ex. 5) (printed from native file)           NXP-IMP-NDCAL-00005238

 158      3/3/2015    UCODE 8 Customer Requirements Specification, Doc Rev 1 Draft - 3 Mar 2015           NXP-IMP-NDCAL-00004848 -        Zach; Bischof;                     402, 403
                      (Bischof Dep. Ex. 3; Zenz NDCA Dep. Ex. 9)                                          NXP-IMP-NDCAL-00004873              Zenz
 159     7/24/2009    HTCICC64 Product Data Sheet, HITAG µ RO64 transponder IC, Rev 3.1 - July 24,        NXP-IMP-NDCAL-00209666 -         Thompson               X
                      2009 (176431)                                                                       NXP-IMP-NDCAL-00209678
 160     3/18/2020    HITAG µ ISO 18000 transponder IC Product Data Sheet, Rev. 3.0 - Mar 18, 2020        NXP-IMP-NDCAL-00209679 -          Thompson              X
                      (184430)                                                                            NXP-IMP-NDCAL-00209722
 204     7/11/2017    Impinj 3Q17 Monza Summit, powerPoint presentation dated July 11, 2017 (Dossett      IMPINJ_NXP_0046694              Dosset, Diorio,                    402, 403, 802
                      Dep. Ex. 3, dated July 11, 2017                                                                                        Kindler

 205     10/5/2017    Impinj 4Q17 Monza Summit, PowerPoint presentation dated October 5, 2017             IMPINJ_NXP_0046695              Dosset, Diorio,                    402, 403, 802
                      (Dossett Dep. Ex. 4) (printed from native file)                                                                        Kindler

 206     7/15/2019    Impinj 3Q19 Silicon Summit, PowerPoint presentation dated July 15, 2019 (Dossett    IMPINJ_NXP_0046702              Dosset, Diorio,                    402, 403, 802
                      Dep. Ex. 9) (printed from native file)                                                                                 Kindler

 207     4/20/2021    Impinj 2Q21 Endpoint IC Summit dated April 20, 2021 (Dossett Dep. Ex. 10)           IMPINJ_NXP_0046958 -               Dossett                         402, 403, 802
                                                                                                          IMPINJ_NXP_0047015




                                                                                                  Page 5 of 20
                                     Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 7 of 21
                                                                                     Impinj, Inc. v. NXP USA, Inc.
                                                              U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                       JOINT TRIAL EXHIBIT LIST
                                                                                           (January 24, 2024)

Exh. #     Date       Description                                                                        Bates Number                      Sponsoring       Stipulation to         Objection     Date
                                                                                                                                            Witness             Admit                          Admitted
 208     7/15/2021    Impinj 3Q21 Endpoint IC Summit dated July 15, 2021 (Dossett Dep. Ex. 11)           IMPINJ_NXP_0047016 -                Dossett                         402, 403, 802
                                                                                                         IMPINJ_NXP_0047077
 209      9/6/2021    Maui Marketing Requirements Document                                               IMPINJ_NXP_0047092 -                 Oliver                         402, 403, 802
                                                                                                         IMPINJ_NXP_0047098
 215       2022       Impinj Invoice Specification (through Q3 2022) (Dannels WDTX Dep. Ex. 4)           IMPINJ_NXP_0049961               Kindler; Diorio                    402, 403, 802

 216       2018       Impinj Monza R6-A Tag Chip Datasheet, 2018                                         IMPINJ_NXP_DDEL_00002444 -           Oliver              X
                                                                                                         IMPINJ_NXP_DDEL_00002463
 217       2018       Impinj Monza R6-P Tag Chip Datasheet, 2018                                         IMPINJ_NXP_DDEL_00002464 -           Oliver              X
                                                                                                         IMPINJ_NXP_DDEL_00002485
 218       2017       Impinj Monza R6 Tag Chip Datasheet, Version 5.0 (Stanford WDWA Dep. Ex. 3)         IMPINJ_NXP_DDEL_00002584 -           Oliver;             X
                                                                                                         IMPINJ_NXP_DDEL_00002604            Stanford
 219       2018       Impinj Monza R6-B Tag Chip Datasheet, 2018                                         IMPINJ_NXP_DDEL_00002605 -           Oliver              X
                                                                                                         IMPINJ_NXP_DDEL_00002623
 221       2020       RAIN Alliance: Global Markets and Applications for RAIN RFID Solutions A Market    IMPINJ_NXP_WDTEX_00006640        Dosset, Diorio,                    802
                      Research Report dated October 2020                                                                                     Kindler

 222      Multiple    RFID Forecasts, Players and Opportunities: 2016-2026 - IDTechEx                    IMPINJ_NXP_WDTEX_00006641 -      Dosset, Diorio,                    802
                                                                                                         IMPINJ_NXP_WDTEX_00006834           Kindler

 223      Multiple    RFID Forecasts, Players, and Opportunities 2022-2032 - IDTechEx                    IMPINJ_NXP_WDTEX_00007555 -      Dosset, Diorio,                    802
                                                                                                         IMPINJ_NXP_WDTEX_00007837           Kindler

 224      Undated     Impinj Finished Goods Inventory (Dannels WDWA Dep. Ex. 6)                          IMPINJ_NXP_WDTEX_00009504        Dosset, Diorio,                    402, 403, 802
                                                                                                                                             Kindler

 225      5/9/2017    UCODE 8 Omnichannel redtail data at unmatched speed and accuracy, RFiD Journal NXP-IMP-NDCAL-00004874                  Bischof              X
                      LIVE!, PowerPoint presentation by Kurt Bischof (Bischof NDCA Dep. Ex. 6) (printed
                      from native file)
 226     11/11/2014   Meeting Notes Avery-NXP, UCODE8 Specification dated November 10 ‒ 11, 2014        NXP-IMP-NDCAL-00005058 -              Zach                X
                      (Zach NDCA Dep. Ex. 2)                                                            NXP-IMP-NDCAL-00005062
 227     12/1/2014    UCODE 8 dated December 1, 2014 (Kodritsch Dep. Ex. 3)                             NXP-IMP-NDCAL-00005148              Kodritsch             X
 228     1/30/2015    Meeting Notes SML-NXP dated January 30, 2015 (Kodritsch Dep. Ex. 5)               NXP-IMP-NDCAL-00005170              Kodritsch                        402, 403, 802
 229     3/14/2016    NXP Customer Requirements Specification UCODE 8 dated March 14, 2016 (Bischof NXP-IMP-NDCAL-00005621 -                 Bischof              X
                      Dep. Ex. 4)                                                                       NXP-IMP-NDCAL-00005655
 230      Undated     Native Excel: NXP-IMP-NDCAL-00206211.xlsx                                         NXP-IMP-NDCAL-00206211 -          Dosset, Diorio,                    402, 403, 802,
                                                                                                                                             Kindler                         1001, F

 231      5/9/2017    NXP Revolutionizes Retail Customer Experiences, Launches Industry’s Most Power     NXP-IMP-NDCAL-00206220 -           Kodritsch             X
                      Efficient Global RAIN RFID Chip for Omnichannel Retail Data dated May 9, 2017      NXP-IMP-NDCAL-00206221
                      (Kodritsch Dep. Ex. 7)
 232      Undated     NXP RFID Presentation, by Ralf Kodritsch (Kodritsch Dep. Ex. 4)                    NXP-IMP-NDCAL-00206227 -           Kodritsch             X
                                                                                                         NXP-IMP-NDCAL-00206251
 233       2017       Omnichannel Retail Data at unmatched Speed and Accuracy, dated April 2017          NXP-IMP-NDCAL-00206253 -             Brandl              X
                      (Brandl Dep. Ex. 1)                                                                NXP-IMP-NDCAL-00206254
 234      3/2019      Improving the product journey with UCODE® 8, PowerPoint presentation dated         NXP-IMP-NDCAL-00206255 -           Bischof;              X
                      March 2019 (Bischof Dep. Ex. 7; Kodritsch NDCA Dep. Ex. 14) (native file)          NXP-IMP-NDCAL-00206255             Kodritsch

 235     3/26/2014    Impinj Enduro Technology dated March 26, 2014 (Diorio Dep. Ex. 17; Kodritsch       NXP-IMP-NDCAL-00206329 -            Diorio;                         402, 403, 802
                      NDCA Dep. Ex. 2; Zenz NDCA Dep. Ex. 8)                                             NXP-IMP-NDCAL-00206340             Kodritsch;
                                                                                                                                              Zenz
 236                  M7x0 Fighting Guide Internal Version, by Hermann Zach (Kodritsch NDCA Dep. Ex.     NXP-IMP-NDCAL-00208032               Zach                X
                      15; Zach WDTX Dep. Ex. 10) (printed from native file)




                                                                                                 Page 6 of 20
                                     Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 8 of 21
                                                                                      Impinj, Inc. v. NXP USA, Inc.
                                                               U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                        JOINT TRIAL EXHIBIT LIST
                                                                                            (January 24, 2024)

Exh. #      Date      Description                                                                           Bates Number                   Sponsoring       Stipulation to         Objection       Date
                                                                                                                                             Witness            Admit                            Admitted
 237     August 2016 NXP UCODE 9 – Concept Working Document Presentation dated August 2018                  NXP-IMP-NDCAL-00208058             Zach;              X
                                                                                                                                             Kodritsch
 238     11/13/2017   NXP UCODE 9, PowerPoint presentation dated November 13, 2017 (Bischof Dep.           NXP-IMP-NDCAL-00208068          Bischof; Zach          X
                      Ex. 10) (printed from native file)
 239      11/8/2018   NXP UCODE 9 – PI Gate Presentation dated November 8, 2018 (Brandl Dep. Ex. 11; NXP-IMP-NDCAL-00208076                Brandl; Zach           X
                      Zenz NDCA Dep. Ex. 10) (printed from native file)
 240        2020      UCODE 9 Product Data Sheet, 2020 (Brandl Dep. Ex. 15)                                NXP-IMP-NDCAL-00208347 -           Brandl              X
                                                                                                           NXP-IMP-NDCAL-00208375
 241                  Excel spreadsheet re: Smart label IC - Customer Requirements Specification           NXP-IMP-NDCAL-00208466             Zach;               X
                      (Kodritsch NDCA Dep. Ex. 9) (native file)                                                                              Kodritsch
 250      5/23/2022   Dielectric constant, RFID Journal. (https://www.rfidjournal.com/glossary/dielectric-                                    Kindler                        402, 403, 802
                      constant, viewed on May 23, 2022.)

 251      3/27/2022   EPS News: And the Winner Is… Ace Awards Honor Best in Engineering &                                                  Oliver, Diorio                    402, 403, 802
                      Technology dated July 22, 2015. (https://epsnews.com/2015/07/22/and-the-winner-is-
                      ace-awards-honor-best-in-engineering- technology/, viewed on May 27, 2022.)

 267      4/29/2022   Impinj Monza 5 Tag Chip Datasheet. (https://support.impinj.com/hc/en-                                                Oliver, Diorio                    402,403,802
                      us/articles/202756948-Monza-5-Tag-Chip-Datasheet, viewed on April 29, 2022.)

 269      4/29/2022   Impinj Monza R6 Series RAIN RFID Tag Chips Product Brief.                                                            Oliver, Diorio                    802
                      (https://support.impinj.com/hc/article_attachments/4412848968723/Impinj-Monza-R6-
                      Series-Product-Brief-121421.pdf, viewed on April 29, 2022.)
 288      5/10/2017   NXP to Release More Sensitive UHF Chip With New Functionality dated May 10,                                          Oliver, Diorio                    402, 403, 802, F,
                      2017. (https://www.rfidjournal.com/nxp-to-release-more-sensitive-uhf-chip-with-new-                                                                    NP
                      functionality, viewed on June 15, 2022.)
 289      4/29/2022   NXP UCODE 8 Fact Sheet. (https://www.nxp.com/docs/en/fact-                          NXP-IMP-NDCAL-00000424 -         Oliver, Diorio         X
                      sheet/UCODE8LF.pdf, viewed on April 29, 2022.)                                      NXP-IMP-NDCAL-00000425
 291      4/28/2022   NXP UCODE 9 Fact Sheet. (https://www.nxp.com/docs/en/fact-                                                           Oliver, Diorio         X
                      sheet/UCODE9FSA4.pdf, viewed on April 28, 2022.)
 332      3/17/2015   Science Vision Circuit Analysis Report, IPJ-W1700 - Monza R6 Tag Chip (Amtmann NXP-IMP-DDEL-00011904 -                Amtmann                          402, 403, 106,
                      NDCA Dep. Ex. 2)                                                                    NXP-IMP-DDEL-00012090                                              802, 1001, F, MIL

 333        2010      CircuitVision Analysis on the Analog Circuitry of the Impinj Monza RFID Tag           NXP-IMP-DDEL-00011424 -         Amtmann                          402, 403, 106,
                      (Amtmann NDCA Dep. Ex. 3)                                                             NXP-IMP-DDEL-00011588                                            802, 1001, F, MIL

 334      4/22/2011   NXP Failure Analysis Report - Competitor analyse [sic] Impinj M5 RFID chip           NXP-IMP-WDWASH-00013619 -        Amtmann                          402, 403, MIL
                      (Amtmann NDCA Dep. Ex. 4)                                                            NXP-IMP-WDWASH-00013623
 335      3/3/2015    Customer Requirements Specification UCODE 8 - Doc Rev 1 Draft (Amtmann NDCA NXP-IMP-NDCAL-00005441 -                  Amtmann               X
                      Dep. Ex. 6)                                                                          NXP-IMP-NDCAL-00005466
 336      10/3/2014   UCODE 8 EcoSystem-Review (Amtmann NDCA Dep. Ex. 8) (native file)                     NXP-IMP-NDCAL-00005239           Amtmann               X
 337      9/28/2016   Competitor Analysis Report PDC NYM Impinj Monza R6 RFID Tag, by Claud van            NXP-IMP-NDCAL-00004812 -         Amtmann;                         402, 403, MIL
                      Oers (Amtmann NDCA Dep. Ex. 11; Brandl WDTX Dep. Ex. 24)                             NXP-IMP-NDCAL-00004828            Brandl
 338      8/10/2015   Email from Hermann Zach to Ralf Kodritsch, et al. re Arizon Impinj R6 wafer + Labels NXP-IMP-WDWASH-00013610          Amtmann;                         402, 403, MIL
                      (Amtmann NDCA Dep. Ex. 12; Kodritsch NDCA Dep. Ex. 6)                                                                 Kodritsch
 339      3/17/2015   Structure Analysis Report, IPJ-W1700 Cross Section (Amtmann NDCA Dep. Ex. 13) NXP-IMP-DDEL-00012091 -                 Amtmann                          402, 403, 802,
                                                                                                           NXP-IMP-DDEL-00012111                                             1001, MIL
 340      9/25/2019   UCODE 9 - Chip Options - High Level Descript + Estimates, by Hermann Zach            NXP-IMP-NDCAL-00208060 -         Amtmann               X
                      (Amtmann NDCA Dep. Ex. 14) (native file)
 343      2/2/2015    Email thread from Franz Amtmann to Robert Spindler et a. the Mory part:              NXP-IMP-WDWASH-00013789 -        Amtmann                          402, 403
                      ICAnlysisCapability_ScienceVision_HongYuan ROSE (Amtmann WDWA Dep. Ex.               NXP-IMP-WDWASH-00013798
                      17)




                                                                                                    Page 7 of 20
                                    Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 9 of 21
                                                                                    Impinj, Inc. v. NXP USA, Inc.
                                                             U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                      JOINT TRIAL EXHIBIT LIST
                                                                                          (January 24, 2024)

Exh. #      Date      Description                                                                     Bates Number                       Sponsoring    Stipulation to       Objection        Date
                                                                                                                                          Witness          Admit                           Admitted
 348       Undated    Excel spreadsheet, with first tab named "UHF Market Details" (Bischof NDCA Dep.   NXP-IMP-NDCAL-00206211             Bischof                      402, 403, 802,
                      Ex. 1) (native file)                                                                                                                              1001, F
 349       2/22/2015  UCODE 8, PowerPoint presentation by Kurt Bischof (Bischof NDCA Dep. Ex. 2)        NXP-IMP-NDCAL-00005233             Bischof           X
                      (printed from native file)
 353        Undated   Typewritten notes re meeting between Arizon and NXP, Meeting Location: Arizon -   NXP-IMP-NDCAL-00005149             Bischof           X
                      Yangzhou GC (Bischof NDCA Dep. Ex. 11)
 356       12/9/2008  BiC UCODE Customer Requirements Specification, Doc Rev 2 Approved (Brandl         NXP-IMP-NDCAL-00005275 -           Brandl            X
                      WDTX Dep. Ex. 2)                                                                  NXP-IMP-NDCAL-00005288
 367      10/20/2016 UCODE 8 Validation, Characterization and Qualification Report, Doc Rev 0.1 (Brandl NXP-IMP-NDCAL-00004529 -           Brandl            X
                      WDTX Dep. Ex. 21)                                                                 NXP-IMP-NDCAL-00004634
 368       3/21/2018  UCODE 8 - Validation Deep Dive, PowerPoint presentation by Gerald Müller (Brandl NXP-IMP-NDCAL-00149213              Brandl            X
                      WDTX Dep. Ex. 23)
 369     January 2015 UCODE8 Data integrity of U8 - proposal + slides of brainstorming meeting          NXP-IMP-NDCAL-00005925             Brandl            X
                      (December 2015 [sic]) and meeting minutes, Powerpoint presentation (Brandl WDTX
                      Dep. Ex. 25) (printed from native file)
 370                  Impinj's Notice of Deposition of NXP pursuant to FRCP 30(b)(6) (Kodritsch NDCA                                                                    402, 403, 806, F
                      Dep. Ex. 1)
 371                  UCODE 8 PowerPoint slide deck by Hermann Zach (Kodritsch NDCA Dep. Ex. 3)         NXP-IMP-NDCAL-005148                Zach             X
                      (printed from native file)
 372                  Photo re: R6_wafer_HR                                                             NXP-IMP-WDWASH-00013345 -         Kodritsch                     402, 403
                                                                                                        NXP-IMP-WDWASH-00013345
 373                  Photo re: R6_wafer_Label_HR.jpg                                                   NXP-IMP-WDWASH-00013346 -         Kodritsch                     402, 403
                                                                                                        NXP-IMP-WDWASH-00013346
 374                  Photo re: R6_wafer_Label_LR.jpg                                                   NXP-IMP-WDWASH-00013347 -         Kodritsch                     402, 403
                                                                                                        NXP-IMP-WDWASH-00013347
 375                  Photo re: R6_wafer_LR.jpg                                                         NXP-IMP-WDWASH-00013348 -         Kodritsch                     402, 403
                                                                                                        NXP-IMP-WDWASH-00013348
 376       5/24/2017 UCODE 9 (or 8s?) Objectives slide deck by NXP (Kodritsch NDCA Dep. Ex. 10)         NXP-IMP-NDCAL-00208451            Kodritsch          X
                      (native file)
 379                  Avery Dennison Purchase Order to NXP, re NXP UCODE 8 (Kodritsch WDWA Dep. NXP-IMP-WDTEX-00017400 -                  Kodritsch          X
                      Ex. 6)                                                                            NXP-IMP-WDTEX-00017402
 380                  Avery Dennison Purchase Order to NXP re NXP UCODE 8 (Kodritsch WDWA Dep. NXP-IMP-WDTEX-00017435 -                   Kodritsch          X
                      Ex. 7)                                                                            NXP-IMP-WDTEX-00017437
 381                  Smartrac Purchase Order to NXP re UCODE7 (Kodritsch WDWA Dep. Ex. 8)              NXP-IMP-WDTEX-00017211 -          Kodritsch          X
                                                                                                        NXP-IMP-WDTEX-00017214
 382                  Excel spreadsheet printout from native file re IDTechEX FC 2017(Kodritsch WDWA                                      Kodritsch          X
                      Dep. Ex. 9)
 383                  Distributor Agreement between NXP Semiconductors Netherlands B.V. and Mouser NXP-IMP-WDTEX-00018192 -               Kodritsch                     402, 403
                      Electronics (Kodritsch WDWA Dep. Ex. 11)                                          NXP-IMP-WDTEX-00018210
 384                  Distributor Agreement between NXP Semiconductors Netherlands B.V. and Vitec       NXP-IMP-WDTEX-00017830 -          Kodritsch                     402, 403
                      Holdings (Kodritsch WDWA Dep. Ex. 12)                                             NXP-IMP-WDTEX-00017850
 385                  Excel spreadsheet re Distributor Resales of Selected Parts (2016 - 2022 to date)                                    Kodritsch                     402, 403, 1001
                      (hard copy printouts from native file) (Kodritsch WDWA Dep. Ex. 13)
 386                  Excel spreadsheet (hard copy printouts from native file) (Kodritsch WDWA Dep. Ex.                                   Kodritsch          X
                      14)
 390        Undated   Layout of the pads on UCODE 8 and UCODE 9 (Zenz NDCA Dep. Ex. 7)                  NXP-IMP-NDCAL-00208499             Zenz              X
 391      11/11/2014 Avery-NXP UCODE 8 Spec discussion - 11.11.2014 meeting notes (Zach NDCA            NXP-IMP-NDCAL-00005053 -         Zach; Stott         X
                      Dep. Ex. 1; Zach WDTX Dep. Ex. 4; Stott NDCA Dep. Ex. 6)                          NXP-IMP-NDCAL-00005054
 398                  UCODE 8 + UCODE 8 IP Study (Zach WDTX Dep. Ex. 6) (printed from native file)      NXP-IMP-NDCAL-00005237              Zach             X

 401                  UCODE 9 - TO B1 Major Milestone Presentation PowerPoint slide deck, by Robert   NXP-IMP-NDCAL-00208448                Zach             X
                      Spindler (Zach WDTX Dep. Ex. 9) (printed from native file)




                                                                                             Page 8 of 20
                                    Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 10 of 21
                                                                                      Impinj, Inc. v. NXP USA, Inc.
                                                               U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                        JOINT TRIAL EXHIBIT LIST
                                                                                            (January 24, 2024)

Exh. #     Date       Description                                                                           Bates Number                    Sponsoring       Stipulation to         Objection     Date
                                                                                                                                             Witness             Admit                          Admitted
 408     2015-2019    Impinj Invoice Specification (through Q1 2021) (native file) (Dannels NDCA Dep. Ex.   IMPINJ_NXP_0046530 -           Dosset, Diorio,         X
                      3)                                                                                    IMPINJ_NXP_0046530                Kindler

 409     2015-2019    Impinj Invoice Specification (through Q1 2021) (hard copy printout) (Dannels NDCA     IMPINJ_NXP_0046530 -           Dosset, Diorio,         X
                      Dep. Ex. 4)                                                                           IMPINJ_NXP_0046530                Kindler

 410                  Excel spreadsheet (native file) unnumbered (Dannels WDWA Dep. Ex. 3)                                                 Dosset, Diorio,         X
                                                                                                                                              Kindler

 411                  Impinj Invoice Specification (through Q3 2022) (Dannels WDWA Dep. Ex. 4)              IMPINJ_NXP_WDWASH_00028295     Dosset, Diorio,         X
                                                                                                                                              Kindler

 412     1/16/2015    Email from Harley Heinrich to Tan Mau Wu re: Beveled RF pads (Heinrich NDCA           IMPINJ_NXP_0001868 -              Heinrich                        802
                      Dep. Ex. 6)                                                                           IMPINJ_NXP_0001868
 413     3/18/2010    NXP HITAG μ ISP 18000 transponder IC Product data sheet PUBLIC Rev. 3.0 - 18           -                               Thompson              X
                      March 2010 (Heinrich NDCA Dep. Ex. 8)
 416                  NXP Semiconductors NV Master File (Rajen WDTX Dep. Ex. 7)                      NXP-IMP-WDTEX-00018855 -                  Rajen                          402, 403, 802
                                                                                                     NXP-IMP-WDTEX-00018894
 417                  NXP USA Distribution Agreement (Rajen WDTX Dep. Ex. 9)                         NXP-IMP-WDTEX-00018749 -                  Rajen                          402, 403, 802
                                                                                                     NXP-IMP-WDTEX-00018766
 418       2021       NXP Worldwide Sales Data (through 2021) (Rajen WDTX Dep. Ex. 16) (printed from NXP-IMP-WDTEX-00018787                Rajen; Kindler                     402, 403
                      native file)
 419                  NXP Distributor Data (Rajen WDTX Dep. Ex. 19)                                  NXP-IMP-WDTEX-00017135                   Rajen                           402, 403, 1001
 423     11/19/2018   UCODE 8 Datasheet, version 3.2                                                 NXP-IMP-NDCAL-00004173 -                Amtmann               X
                                                                                                     NXP-IMP-NDCAL-00004208
 444                  UCODE Pad Placement Images                                                     NXP-IMP-NDCAL-00209054 -                   Zenz               X
                                                                                                     NXP-IMP-NDCAL-00209071
 448      Undated     UCODE 9 Mask Layouts                                                           NXP-IMP-NDCAL-00209123 -                   Zenz               X
                                                                                                     NXP-IMP-NDCAL-00209127
 449                  Adient Automates Asset Management with RAIN RFID                               IMPINJ_NXP_WDWASH_00028296 -              Diorio                         402, 403, 802
                                                                                                     IMPINJ_NXP_WDWASH_00028300
 450                  Aertssen Logistics Picks Assets Faster with RAIN RFID Asset Management         IMPINJ_NXP_WDWASH_00028301 -              Diorio                         402, 403, 802
                                                                                                     IMPINJ_NXP_WDWASH_00028305
 451                  Alvero Manages Rental Asset Warehouse with RAIN RFID                           IMPINJ_NXP_WDWASH_00028306 -              Diorio                         402, 403, 802
                                                                                                     IMPINJ_NXP_WDWASH_00028310
 452                  Asset Recovery Specialists Use RAIN RFID Technology to Save on Labor and       IMPINJ_NXP_WDWASH_00028311 -              Diorio                         402, 403, 802
                      Improve Supply Chain                                                           IMPINJ_NXP_WDWASH_00028315
 453                  Berendsen Improves Laundry Facility Efficiency with RAIN RFID                  IMPINJ_NXP_WDWASH_00028316 -              Diorio                         402, 403, 802
                                                                                                     IMPINJ_NXP_WDWASH_00028320
 454                  Brussels Airport Allows Flyers to Track Their Luggage with Impinj              IMPINJ_NXP_WDWASH_00028321 -              Diorio                         402, 403, 802
                                                                                                     IMPINJ_NXP_WDWASH_00028324
 455                  Carvana Uses RAIN RFID to Improve Car Buying Experience                        IMPINJ_NXP_WDWASH_00028325 -              Diorio                         402, 403, 802
                                                                                                     IMPINJ_NXP_WDWASH_00028329
 456                  Chemours Automates Their Yard Management with IoT, Kaleris and Impinj          IMPINJ_NXP_WDWASH_00028330 -              Diorio                         402, 403, 802
                                                                                                     IMPINJ_NXP_WDWASH_00028334
 457                  China Outfitters Increases Operational Efficiency with RAIN RFID               IMPINJ_NXP_WDWASH_00028335 -              Diorio                         402, 403, 802
                                                                                                     IMPINJ_NXP_WDWASH_00028339
 458                  Cisco Tracks and Manages Data Center IT Assets with RAIN RFID                  IMPINJ_NXP_WDWASH_00028340 -              Diorio                         402, 403, 802
                                                                                                     IMPINJ_NXP_WDWASH_00028343
 459                  Coca-Cola Improves Drink Dispenser Experience                                  IMPINJ_NXP_WDWASH_00028344 -              Diorio                         402, 403, 802
                                                                                                     IMPINJ_NXP_WDWASH_00028347
 460                  Cooperative Hoogstraten Tracks From Farm to Table with RAIN RFID               IMPINJ_NXP_WDWASH_00028348 -              Diorio                         402, 403, 802
                                                                                                     IMPINJ_NXP_WDWASH_00028352




                                                                                                 Page 9 of 20
                              Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 11 of 21
                                                                               Impinj, Inc. v. NXP USA, Inc.
                                                        U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                 JOINT TRIAL EXHIBIT LIST
                                                                                     (January 24, 2024)

Exh. #   Date   Description                                                                       Bates Number                      Sponsoring   Stipulation to       Objection     Date
                                                                                                                                     Witness         Admit                        Admitted
 461            CSA Hospital Manages Surgical Supplies with Smart Cabinet                         IMPINJ_NXP_WDWASH_00028353 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028356
 462            Cuploop Makes Reusing Packages Faster and Easier with RAIN RFID                   IMPINJ_NXP_WDWASH_00028357 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028361
 463            Dana Incorporated Achieves 100% Parts Traceability                                IMPINJ_NXP_WDWASH_00028362 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028366
 464            Elis Improves Workflows by Automating Laundry Tracking & Sorting                  IMPINJ_NXP_WDWASH_00028367 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028370
 465            Emergency Agency Plans Ahead with RAIN RFID Asset Tracking                        IMPINJ_NXP_WDWASH_00028371 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028375
 466            Eurocopter Asset Tracking with RAIN RFID                                          IMPINJ_NXP_WDWASH_00028376 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028380
 467            Euro Pool Increased Warehouse Efficiency with RAIN RFID at the Dock Door          IMPINJ_NXP_WDWASH_00028381 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028384
 468            Faurecia Creates the Factory of the Future with RAIN RFID                         IMPINJ_NXP_WDWASH_00028385 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028389
 469            Haier Automates Processes, Improves Manufacturing with RAIN RFID                  IMPINJ_NXP_WDWASH_00028390 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028394
 470            Hamni Uses RAIN RFID for Pharma Supply Chain Management                           IMPINJ_NXP_WDWASH_00028395 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028399
 471            Heathrow Airport Pilots RAIN RFID Project to Track Luggage Carts                  IMPINJ_NXP_WDWASH_00028400 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028404
 472            Heilan Home Streamlines Logistics and Retail Operations with RAIN RFID            IMPINJ_NXP_WDWASH_00028405 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028409
 473            Hospital Saves Time and Resources with RAIN RFID                                  IMPINJ_NXP_WDWASH_00028410 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028414
 474            How Rent-All Keeps Their Show on the Road with RAIN RFID                          IMPINJ_NXP_WDWASH_00028415 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028419
 475            Hy-Vee Grocery Cold Chain Monitoring Increases Product Shelf-Life                 IMPINJ_NXP_WDWASH_00028420 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028424
 476            Japan Pallet Rental Tracks Pallets and Assets with RAIN RFID                      IMPINJ_NXP_WDWASH_00028425 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028428
 477            La Chapelle Innovates Supply Chain and In-Store with RAIN RFID                    IMPINJ_NXP_WDWASH_00028429 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028433
 478            LA Marathon Reduces Race Timing Costs with RAIN RFID                              IMPINJ_NXP_WDWASH_00028434 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028438
 479            Levvel Tracks Concrete Blocks for Dike Project with RAIN RFID                     IMPINJ_NXP_WDWASH_00028439 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028443
 480            Love's Travel Stops Uses RAIN RFID to Automate Driver Payments                    IMPINJ_NXP_WDWASH_00028444 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028447
 481            Luik Natie Keeps Frozen Foods Ice-Cold with RAIN RFID                             IMPINJ_NXP_WDWASH_00028448 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028453
 482            Medical Center Ups Efficiency with RAIN RFID Asset Management                     IMPINJ_NXP_WDWASH_00028454 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028458
 483            memove Improves Store Inventory, Reduces Theft with RAIN RFID                     IMPINJ_NXP_WDWASH_00028459 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028462
 484            Meritex Improves Service with RAIN RFID Laundry Management                        IMPINJ_NXP_WDWASH_00028463 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028466
 485            MESNAC Enhances Manufacturing Equipment with RAIN RFID                            IMPINJ_NXP_WDWASH_00028467 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028471
 486            NASA Scientists Use RAIN RFID to Monitor Spacecraft Temperatures                  IMPINJ_NXP_WDWASH_00028472 -        Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028475




                                                                                         Page 10 of 20
                               Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 12 of 21
                                                                                 Impinj, Inc. v. NXP USA, Inc.
                                                          U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                   JOINT TRIAL EXHIBIT LIST
                                                                                       (January 24, 2024)

Exh. #   Date   Description                                                                      Bates Number                         Sponsoring   Stipulation to       Objection     Date
                                                                                                                                       Witness         Admit                        Admitted
 487            Newark Airport Improves Traveler Experience with RAIN RFID                       IMPINJ_NXP_WDWASH_00028476 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028480
 488            Medical Center Reduces Medication Tracking Errors with RAIN RFID                 IMPINJ_NXP_WDWASH_00028481 -           Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028485
 489            North York General Hospital Improves Operations with RAIN RFID                   IMPINJ_NXP_WDWASH_00028486 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028490
 490            Novart Oy Avoids Costly Shipping Errors with Impinj Platform                     IMPINJ_NXP_WDWASH_00028491 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028495
 491            PAK Automates Laundry Textile Tracking with RAIN RFID                            IMPINJ_NXP_WDWASH_00028496 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028499
 492            Pellenc Maintains Green Spaces with Production Traceability                      IMPINJ_NXP_WDWASH_00028500 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028504
 493            Plexus Drives Manufacturing Efficiencies with RAIN RFID                          IMPINJ_NXP_WDWASH_00028505 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028509
 494            Polaris Saves Thousands with RAIN RFID Automated Manufacturing Solutions         IMPINJ_NXP_WDWASH_00028510 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028513
 495            Polyplastics Automates Tracking of Raw Materials with RAIN RFID                  IMPINJ_NXP_WDWASH_00028514 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028517
 496            Post Norway Growth with RAIN RFID Infrastructure Upgrade                         IMPINJ_NXP_WDWASH_00028518 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028523
 497            Rady Children's Hospital Tracks Controlled Substances with RAIN RFID             IMPINJ_NXP_WDWASH_00028524 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028528
 498            Patrizia Pepe Doubles Logistics Efficiency with RAIN RFID                        IMPINJ_NXP_WDWASH_00028529 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028533
 499            Renewable Energy Manufacturer Improves Operations with RAIN RFID                 IMPINJ_NXP_WDWASH_00028534 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028537
 500            Reynolds Achieves ROI in Less Than Three Months with RAIN RFID                   IMPINJ_NXP_WDWASH_00028538 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028542
 501            Roba Metals Automates Track and Trace of Pallets, Speesd Searches                IMPINJ_NXP_WDWASH_00028543 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028547
 502            SAIC Anji Logistics Halves Inventory Time with RAIN RFID and Drones              IMPINJ_NXP_WDWASH_00028548 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028552
 503            School District Automates IT Asset Tracking with RAIN RFID                       IMPINJ_NXP_WDWASH_00028553 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028557
 504            The Pub Restaurant Lets Diners Pour Their Own Drinks                             IMPINJ_NXP_WDWASH_00028558 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028562
 505            Hospital Reduces Costs and Saves Thousands with RAIN RFID                        IMPINJ_NXP_WDWASH_00028563 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028566
 506            TopGolf Transforms Golf Driving Ranges with RAIN RFID                            IMPINJ_NXP_WDWASH_00028567 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028570
 507            United Hospital Services Maintains Strict Hygiene and Reduces Waste              IMPINJ_NXP_WDWASH_00028571 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028575
 508            Undiz Lingerie Literally Flies into Customers' Hands                             IMPINJ_NXP_WDWASH_00028576 -           Diorio                      402, 403, 802
                                                                                                  IMPINJ_NXP_WDWASH_00028580
 509            United Technologies Improves Shipping Operations with RAIN RFID                  IMPINJ_NXP_WDWASH_00028581 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028585
 510            University Teaching Clinic Transforms Dentistry Using RAIN RFID                  IMPINJ_NXP_WDWASH_00028586 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028589
 511            USPTO Reduces Manual Labor with IT Asset Management Solution                     IMPINJ_NXP_WDWASH_00028590 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028593
 512            UT Medical Center Automates Supply Management with RAIN RFID                     IMPINJ_NXP_WDWASH_00028594 -           Diorio                      402, 403, 802
                                                                                                 IMPINJ_NXP_WDWASH_00028599




                                                                                       Page 11 of 20
                                    Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 13 of 21
                                                                                      Impinj, Inc. v. NXP USA, Inc.
                                                               U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                        JOINT TRIAL EXHIBIT LIST
                                                                                            (January 24, 2024)

Exh. #     Date       Description                                                                          Bates Number                     Sponsoring       Stipulation to       Objection     Date
                                                                                                                                             Witness             Admit                        Admitted
 513                  Voestalpine Railway Systems Uses RAIN RFID for Real-Time Railcar Inspection          IMPINJ_NXP_WDWASH_00028600 -       Diorio                          402, 403, 802
                                                                                                           IMPINJ_NXP_WDWASH_00028604
 514                  Volvo Deploys RAIN RFID Solution for Automative Manufacturing                        IMPINJ_NXP_WDWASH_00028605 -        Diorio                         402, 403, 802
                                                                                                           IMPINJ_NXP_WDWASH_00028609
 515                  vXchnge Increases Compliance and Accuracy at Data Centers                            IMPINJ_NXP_WDWASH_00028610 -        Diorio                         402, 403, 802
                                                                                                           IMPINJ_NXP_WDWASH_00028614
 516                  Photographs of Impinj Employees / Headquarters                                                                           Diorio                         402, 403
 518     6/12/2001    U.S. Patent No. 6,246,327 ("Eberhardt")                                                                                Thompson              X
 519     7/18/2000    U.S. Patent No. 6,091,332 ("Eberhardt '332")                                                                           Thompson              X
 521                  U.S. Patent Application Publication No. 2011/0139501 ("Ching-San")                                                     Thompson              X
 522     6/27/2016    UCODE 7 Large Pad Project Management Plan                                            NXP-IMP-NDCAL-00206346 -            Zenz                X
                                                                                                           NXP-IMP-NDCAL-00206370
 523     12/9/2016    Pre-Assembly Process Delta Qualification Report for Large Pad UCODE 7                NXP-IMP-NDCAL-00206375 -             Zenz               X
                                                                                                           NXP-IMP-NDCAL-00206388
 524                  UCODE 8 Application Sheet                                                            NXP-IMP-NDCAL-00206400 -             Zenz               X
                                                                                                           NXP-IMP-NDCAL-00206400
 525                  UCODE 8 Application Sheet                                                            NXP-IMP-NDCAL-00206494 -             Zenz               X
                                                                                                           NXP-IMP-NDCAL-00206494
 526                  UCODE 8 Large Pad Qualification Report                                               NXP-IMP-NDCAL-00206401 -             Zenz               X
                                                                                                           NXP-IMP-NDCAL-00206428
 527                  Process Delta Qualification Report UCODE 8                                           NXP-IMP-NDCAL-00206515 -             Zenz               X
                                                                                                           NXP-IMP-NDCAL-00206530
 528                  UCODE 9 IC Image                                                                     NXP-IMP-NDCAL-00208031 -             Zenz                          F
                                                                                                           NXP-IMP-NDCAL-00208031
 529                  UCODE 9 Bumped Wafer Layers                                                          NXP-IMP-NDCAL-00209651 -             Zenz               X
                                                                                                           NXP-IMP-NDCAL-00209651
 530                  NXP USA, Inc. v. Impinj, Inc. , IPR2020-00516, Paper 6, Patent Owner's Preliminary                                     Thompson                         403, 802
                      Response
 531                  NXP USA, Inc. v. Impinj, Inc. , IPR2020-00516, Paper 7, Trial Instituted Document                                      Thompson                         402, 403, MIL

 534     12/31/2022   NXP Worldwide Sales Data (through 2022)                                              NXP-IMP-WDTEX-00024854 -         Kindler, NXP                      402, 403
                                                                                                           NXP-IMP-WDTEX-00024854
 535     12/31/2022   Impinj Invoice Specification (through Q4 2022)                                       IMPINJ_NXP_WDTEX_00070641 -     Dosset, Diorio,         X
                                                                                                           IMPINJ_NXP_WDTEX_00070641          Kindler

 538                  YouTube, 8 Impinj RFID Gen2 for the Distribution Center                              NXP-IMP-WDWASH-00022358 -           Diorio                         402, 403, 802
                                                                                                           NXP-IMP-WDWASH-00022358
 539                  YouTube, Chainway C72 UHF RFID Reader                                                NXP-IMP-WDWASH-00022359 -           Diorio                         402, 403, 802
                                                                                                           NXP-IMP-WDWASH-00022359
 540                  YouTube, Impinj RFID Solutions for Item-Level Tagging                                NXP-IMP-WDWASH-00022362 -           Diorio                         402, 403, 802
                                                                                                           NXP-IMP-WDWASH-00022362
 541                  Monza R6 IC                                                                                                              Diorio                         NP, 402, 403
 542                  Impinj M700 IC                                                                                                           Diorio                         NP, 402, 403
 543                  NXP UCODE 7 IC                                                                                                         Thompson                         NP, 402, 403
                                                                                                                                              Durgin
 544                  NXP UCODE 8 IC                                                                                                         Thompson                         NP, 402, 403
                                                                                                                                              Durgin
 545                  NXP UCODE 9 IC                                                                                                         Thompson                         NP, 402, 403
                                                                                                                                              Durgin
 546                  Who is Impinj: How We're Innovating IoT with RAIN RFID,                                                                  Diorio                         402, 403, 802
                      https://www.youtube.com/watch?v=_hO4uvvgu1U
 547                  How RAIN RFID Product Authentication Works,                                                                              Diorio                         402, 403, 802
                      https://www.youtube.com/watch?v=RrFcWDeygNc




                                                                                               Page 12 of 20
                                   Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 14 of 21
                                                                                     Impinj, Inc. v. NXP USA, Inc.
                                                              U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                       JOINT TRIAL EXHIBIT LIST
                                                                                           (January 24, 2024)

Exh. #     Date      Description                                                                             Bates Number                 Sponsoring     Stipulation to       Objection            Date
                                                                                                                                           Witness           Admit                               Admitted
 548                 Impinj Celebrating 20 Years, https://www.youtube.com/watch?v=z2S-qt_KJJU                                               Diorio                        402, 403, 802

 549                 Competitor Analysis Monza R6                                                            NXP-IMP-WDWASH-00013828 -       Zach                         402, 403, 802
                                                                                                             NXP-IMP-WDWASH-00013839
 550                 YouTube, Impinj Retail Interactive Display with InMotion,                                                               Diorio                       402, 403, 802
                     https://www.youtube.com/watch?v=Of7ADGrhCDs
 551                 YouTube, Impinj Retail Automated Checkout,                                                                              Diorio                       402, 403, 802
                     https://www.youtube.com/watch?v=uLvowW8Glmo
 552                 YouTube, Impinj Retail Inventory Accuracy and Item Location,                                                            Diorio                       402, 403, 802
                     https://www.youtube.com/watch?v=DuSMHOpz6VU
 553     5/18/2023   Photograph of Chris Diorio accepting CEO of the Year Award, GeekWire Awards,                                            Diorio                       402, 403, 802,
                     May 18, 2023                                                                                                                                         Repeated Exhibit
                                                                                                                                                                          Number
 599     2003-2004   2003-2004 EPC Global award to Chris Diorio                                              IMPINJ_NXP_WDWASH_00028720                                   402; 403; 802
 600       2005      2005 Nasdaq - Ventures All Stars - Venture of the Year award to Impinj                  IMPINJ_NXP_WDWASH_00028721                                   402; 403; 802
 601       38835     2006 EPC Global Tremendous Support Recognition award to Chris Diorio                    IMPINJ_NXP_WDWASH_00028722                                   402; 403; 802
 602       2007      2007 Intel R1000 Industry-First UFH RFID Transceiver award to Impinj                    IMPINJ_NXP_WDWASH_00028723                                   402; 403; 802
 603       2007      2007 RFID Visionary of the Year award to Chris Diorio                                   IMPINJ_NXP_WDWASH_00028724                                   402; 403; 802
 604       2011      2011 Inc America's Fastest-Growing Private Companies 5000 award to Impinj               IMPINJ_NXP_WDWASH_00028725                                   402; 403; 802

 607       2014      2014 Washington's 100 Best Companies to Work For award to Impinj                        IMPINJ_NXP_WDWASH_00028728                                   402; 403; 802
 608       2015      Ace Awards - Innovator of the Yeard and IoT Product of the Year Award to Impinj         IMPINJ_NXP_WDWASH_00028729                                   402; 403; 802

 609       2015      Frost & Sullivan - RFID Readers in Healthcare award to Impinj                           IMPINJ_NXP_WDWASH_00028730                                   402; 403; 802
 610       2016      Seattle Business Magazine - Tech Impact Awards - Emerging Technology /                  IMPINJ_NXP_WDWASH_00028731                                   402; 403; 802
                     Productivity award to Impinj
 611       2017      2017 Innovator of the Year Award to Chris Diorio                                        IMPINJ_NXP_WDWASH_00028732                                   402; 403; 802
 612       2020      Power 100 award to Chris Diorio of Impinj                                               IMPINJ_NXP_WDWASH_00028733                                   402; 403; 802
 613       2023      GeekWire Awards 2023 - CEO of the Year Award to Chris Diorio                            IMPINJ_NXP_WDWASH_00028734                                   402; 403; 802
 614       2023      NXP Sales data for 3rd and 4th Quarter of 2023                                          NXP-IMP-NDCAL-00210261 -
                                                                                                             NXP-IMP-NDCAL-00210261
 615       2023      POS Data for 2016-2023                                                                  NXP-IMP-NDCAL-00210262 -
                                                                                                             NXP-IMP-NDCAL-00210262
 11A     9/28/2018   Excerpts from TechnInsights CircuitVision Analysis Report of the Analog Circuitry and                                                                402, 403, 106,
                     EEPROM on the NXP UCODE8 SL3S1205 RFID Integrated Circuit (Heinrich NDCA                                                                             802, F
                     Dep. Ex. 16)
332A     3/17/2015   Excerpts from Science Vision Circuit Analysis Report, IPJ-W1700 - Monza R6 Tag                                                                       402, 403, 106,
                     Chip (Amtmann NDCA Dep. Ex. 2)                                                                                                                       802, 1001, F, MIL

 87A     5/5/2014    Excerpts from Teardown sheet (TechInsights CircuitVision Analysis of the Analog                                                                      106, 802, F, 402,
                     Circuitry on the NXP UCODE 7 RFID IC (Heinrich NDCA Dep. Ex. 17))                                                                                    403

  A                  Undisputed Facts                                                                                                     Both Parties                    402, 403 (Includes
                                                                                                                                                                          stipulated facts not
                                                                                                                                                                          relevant to trial
                                                                                                                                                                          and/or evidentiary
                                                                                                                                                                          hearing)


1002     4/25/2017   U.S. Patent No. 9,633,302; Heinrich                                                     None                         Subramanian;
                                                                                                                                            Heinrich;
                                                                                                                                             Diorio;
                                                                                                                                           Thompson




                                                                                               Page 13 of 20
                                      Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 15 of 21
                                                                                          Impinj, Inc. v. NXP USA, Inc.
                                                                   U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                            JOINT TRIAL EXHIBIT LIST
                                                                                                (January 24, 2024)

Exh. #        Date      Description                                                                         Bates Number                        Sponsoring       Stipulation to      Objection            Date
                                                                                                                                                 Witness             Admit                              Admitted
1004        Multiple    Prosecution file of U.S. Patent No. 9,633,302                                       IMPINJ_NXP_0000435-                Subramanian;
                                                                                                            IMPINJ_NXP_0000567                  Thompson;
                                                                                                                                                 Heinrich;
                                                                                                                                                  Diorio

1005       4/19/2013    Email from H. Heinrich to C. Diorio re "RE: B-stage Adhesive Experiements"          IMPINJ_NXP_0001804-                  Heinrich;                         F, 402, 403, not
                                                                                                            IMPINJ_NXP_0001805                    Diorio                          relevant to retrial
1007       1/16/2015    Email from H. Heinrich to T. Wu re: "Beveled RF pads"                               IMPINJ_NXP_0001868                 Heinrich; Wu;                        402, 403, not
                                                                                                                                                  Diorio                          relevant to retrial
1010        3/5/2012    NXP Semiconductors SL3S1204 Product Data Sheet, UCODE 7, Rev. 4.0                   IMPINJ_NXP_0001894-                    Zenz;                           Not relevant to
                                                                                                            IMPINJ_NXP_0001933                 Subramanian                              retrial

1011       11/19/2018   NXP Semiconductors SL3S1205_15 UCODE 8/8m Product data sheet, Rev. 3.2              IMPINJ_NXP_0001934-                   Zenz;                            Not relevant to
                                                                                                            IMPINJ_NXP_0001969                 Subramanian                              retrial

1012       9/28/2018    Tech Insights CircuitVision Analysis Report of the Analog Circuitry and EEPROM on   IMPINJ_NXP_0002004-                  Heinrich;                        403, not relevant
                        the NXP UCODE8 SL3S1205 RFID Integrated Circuit                                     IMPINJ_NXP_0002127                 Oliver; Diorio                         to retrial
1013        5/5/2014    Tech Insights CircuitVision Analysis of the Analog Circuitry on the NXP UCODE 7     IMPINJ_NXP_0002128-                  Heinrich;                        403, not relevant
                        RFID IC                                                                             IMPINJ_NXP_0002242                    Oliver;                             to retrial
                                                                                                                                               Subramanian;
                                                                                                                                                Thompson
1017        Undated     UCODE 9 (AS-5607 - SL3S1206 Bump Images                                             IMPINJ_NXP_0046525-                Subramanian;                       F, 402, 403, 802
                                                                                                            IMPINJ_NXP_0046529                  Thompson                            not relevant to
                                                                                                                                                                                         retrial
1021     November 2017 Japan Trip Notes Nov 13-17 2017                                                      IMPINJ_NXP_0046565-                    Diorio                          F, 402, 802, not
                                                                                                            IMPINJ_NXP_0046574                                                    relevant to retrial
1028          2017      17Q2 China Trip Notes                                                               IMPINJ_NXP_0046656-                Diorio, Oliver                      F, 402, 802, not
                                                                                                            IMPINJ_NXP_0046670                                                    relevant to retrial
1029      October 2016 Trip report summary from Todd H, Carl B, and Goetz P travel to Europe on Oct 18-     IMPINJ_NXP_0046671-                Dossett; Diorio                     F, 402, 802, not
                       21, 2016                                                                             IMPINJ_NXP_0046681                                                    relevant to retrial
1034        Undated    Impinj presentation: Q117 Monza Summit, Product Management                           IMPINJ_NXP_0046692                 Dossett; Diorio                     F, 402, 403, not
                                                                                                                                                                                  relevant to retrial
1035        4/3/2017    Impinj presentation: Q217 Monza Summit                                              IMPINJ_NXP_0046693                 Dossett; Diorio                     F, 402, 403, not
                                                                                                                                                                                  relevant to retrial
1036       7/11/2017    Impinj presentation: 3Q17 Monza Summit                                              IMPINJ_NXP_0046694                 Dossett; Diorio                     Not relevant to
                                                                                                                                                                                         retrial
1037       10/5/2017    Impinj presentation: 4Q17 Monza Summit                                              IMPINJ_NXP_0046695                     Diorio                          Not relevant to
                                                                                                                                                                                         retrial
1038       1/10/2018    Impinj presentation: 1Q18 Monza Summit                                              IMPINJ_NXP_0046696                     Diorio                          F, 402, 403, not
                                                                                                                                                                                  relevant to retrial
1039       4/18/2018    Impinj presentation: 2Q18 Monza Summit                                              IMPINJ_NXP_0046697                 Dossett; Diorio                     F, 402, 403, not
                                                                                                                                                                                  relevant to retrial
1040       7/25/2018    Impinj presentation: 3Q18 Monza Summit                                              IMPINJ_NXP_0046698                 Dossett; Diorio                     F, 402, 403, not
                                                                                                                                                                                  relevant to retrial
1041       10/17/2018   Impinj presentation: 4Q18 Monza Summit                                              IMPINJ_NXP_0046699                     Diorio                          F, 402, 403, not
                                                                                                                                                                                  relevant to retrial
1042       1/22/2019    Impinj presentation: 1Q19 Monza Summit                                              IMPINJ_NXP_0046700                 Dossett; Diorio                     F, 402, 403, not
                                                                                                                                                                                  relevant to retrial
1043       4/17/2019    Impinj presentation: 2Q19 Silicon Summit                                            IMPINJ_NXP_0046701                    Mecklai                          F, 402, 403, not
                                                                                                                                                                                  relevant to retrial
1044       7/15/2019    Impinj presentation: 3Q19 Silicon Summit                                            IMPINJ_NXP_0046702                 Dossett; Diorio                     F, 402, 403, not
                                                                                                                                                                                  relevant to retrial




                                                                                                 Page 14 of 20
                                     Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 16 of 21
                                                                                         Impinj, Inc. v. NXP USA, Inc.
                                                                  U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                           JOINT TRIAL EXHIBIT LIST
                                                                                               (January 24, 2024)

Exh. #      Date      Description                                                                               Bates Number                   Sponsoring       Stipulation to      Objection            Date
                                                                                                                                                 Witness            Admit                              Admitted
1045     10/21/2020   Impinj presentation: 4Q20 Endpoint IC Summit                                              IMPINJ_NXP_0046836-           Subramanian;                        Not relevant to
                                                                                                                IMPINJ_NXP_0046888              Thompson                               retrial
1046      4/20/2021   Impinj presentation: 2Q21 Endpoint IC Summit                                              IMPINJ_NXP_0046958-               Diorio                          Not relevant to
                                                                                                                IMPINJ_NXP_0047015                                                     retrial
1047      7/15/2021   Impinj presentation: 3Q21 Endpoint IC                                                     IMPINJ_NXP_0047016-           Dossett; Diorio                     Not relevant to
                                                                                                                IMPINJ_NXP_0047077                                                     retrial
1077      4/10/2021   Impinj presentation: Endpoint IC Strategy                                                 IMPINJ_NXP_0047253-              Diorio;                          Not relevant to
                                                                                                                IMPINJ_NXP_0047293            Subramanian;                             retrial
                                                                                                                                               Thompson
1078      8/30/2013   Impinj presentation: Mustang Go/No-go                                                     IMPINJ_NXP_0047294-              Diorio;              X
                                                                                                                IMPINJ_NXP_0047357            Subramanian;
                                                                                                                                               Thompson
1140     11/30/2016   NXP Semiconductors SL3S10x4 UCODE 7xm-1k, UCODE 7xm-2k, and UCODE                         NXP-IMP-NDCAL-00000206-          Zenz;                            Not relevant to
                      7xm+ product data sheet, Rev. 3.3                                                         NXP-IMP-NDCAL-00000238        Subramanian                              retrial

1141      Undated     NTAG Product Features Summary                                                             NXP-IMP-NDCAL-00000312             Zenz                           F, 402, 403, not
                                                                                                                                                                                 relevant to retrial
1142      3/5/2019    NXP Semiconductors SL3S1204 UCODE 7 Product data sheet, Rev. 4.0                          NXP-IMP-NDCAL-00000314-          Zenz;                            Not relevant to
                                                                                                                NXP-IMP-NDCAL-00000353        Subramanian;                             retrial
                                                                                                                                               Thompson
1143     10/28/2019   NXP Semiconductors SL3S1205_15 UCODE 8/8m product data sheet, Rev. 3.3                    NXP-IMP-NDCAL-00000354-        Amtmann;                           Not relevant to
                                                                                                                NXP-IMP-NDCAL-00000389           Brandl;                               retrial
                                                                                                                                               Thompson;
                                                                                                                                              Subramanian

1144     10/28/2019   Annotated excerpt from NXP SL3S1205_15 - UCODE 8/8m Data Sheet depicting                  NXP-IMP-NDCAL-00000360-         Thompson                         402, not relevant
                      Wafer layout with figure drawing highlighted in yellow of bump size's trenches            NXP-IMP-NDCAL-00000361                                               to retrial

1145      3/6/2019    NXP Semiconductors SL3S1214 UCODE 7m product data sheet, Rev. 3.4                         NXP-IMP-NDCAL-00000390-        Amtmann;                           Not relevant to
                                                                                                                NXP-IMP-NDCAL-00000423        Brandl; Zenz;                            retrial
                                                                                                                                              Subramanian;
                                                                                                                                               Thompson
1147        2009      Cai, Xiong-Hui, “Assembly of flexible RFID tag inlays with anisotropic conductive         NXP-IMP-NDCAL-00000436-       Subramanian                        F, 402, Not within
                      paste (ACP),” Circuit World 35(4): 40-45 (2009)                                           NXP-IMP-NDCAL-00000442                                            scope of retrial

1148     August 2010 Finkenzeller, "RFID Handbook", Wiley, 3:1-462, August 2010                                 NXP-IMP-NDCAL-00000492-       Subramanian                        F, 402, Not within
                                                                                                                NXP-IMP-NDCAL-00000971                                            scope of retrial

1151      8/1/1999    Gilleo et al., "Towards a better understanding of underfill encapsulation for flip chip   NXP-IMP-NDCAL-00001676-       Subramanian                        F, 402, Not within
                      technology: proposed developments for the future," Microelectronics International         NXP-IMP-NDCAL-00001681                                            scope of retrial
                      16:2 (1999), pp. 39-43
1154        2005      Landt, Jeremy, “The History of RFID,” IEEE Potentials 24(4):8-11, (Oct.-Nov. 2005)        NXP-IMP-NDCAL-00001809-       Subramanian                        F, 402, Not within
                                                                                                                NXP-IMP-NDCAL-00001812                                            scope of retrial

1159      5/19/2005   U.S. Patent Application Publication No. 2005/0104732; Furter et al.                       NXP-IMP-NDCAL-00002146-       Subramanian                        F, 402, Not within
                                                                                                                NXP-IMP-NDCAL-00002157                                            scope of retrial

1160      3/16/2006   U.S. Patent Appl. Publ. No. 2006/0057763; Teo et al.                                      NXP-IMP-NDCAL-00002158-       Subramanian                        F, 402, Not within
                                                                                                                NXP-IMP-NDCAL-00002169                                            scope of retrial

1161     11/19/2009   U.S. Patent Application Publication No. 2009/0283602; Rogy et al.                         NXP-IMP-NDCAL-00002364-       Subramanian                        F, 402, Not within
                                                                                                                NXP-IMP-NDCAL-00002375                                            scope of retrial




                                                                                                     Page 15 of 20
                                    Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 17 of 21
                                                                                      Impinj, Inc. v. NXP USA, Inc.
                                                               U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                        JOINT TRIAL EXHIBIT LIST
                                                                                            (January 24, 2024)

Exh. #     Date       Description                                                                        Bates Number                      Sponsoring        Stipulation to      Objection            Date
                                                                                                                                             Witness             Admit                              Admitted
1162     6/12/2001    U.S. Patent No. 6,246,327; Eberhardt                                               NXP-IMP-NDCAL-00002711-           Subramanian             X
                                                                                                         NXP-IMP-NDCAL-00002719
1164     8/25/2009    U.S. Patent No. 7,578,053; Nishigawa et al.                                        NXP-IMP-NDCAL-00002930-           Subramanian                        F, 402, Not within
                                                                                                         NXP-IMP-NDCAL-00002951                                                scope of retrial

1169      1/1/2000    Zenner, Robert Lawrence David, “Integrated Circuit Chip Interconnect Performance   NXP-IMP-NDCAL-00003906-           Subramanian                        F, 402, Not within
                      using Anisotropically Conducting Adhesive Films,” (Jan. 2000)                      NXP-IMP-NDCAL-00004084                                                scope of retrial

1171     11/19/2018   NXP Semiconductors SL3S1205_15 UCODE 8/8m Product data sheet                       NXP-IMP-NDCAL-00004173-            Kodritsch;                         Not relevant to
                      SL3S1205_15, Rev. 3.2                                                              NXP-IMP-NDCAL-00004208             Zenz; Zach                              retrial
1172     10/20/2016   NXP Semiconductors Validation, Characterization and Qualification Report - UCODE   NXP-IMP-NDCAL-00004529-              Zenz                 X
                      8; Doc Rev 0.1                                                                     NXP-IMP-NDCAL-00004634
1173     April 2017   NXP UCODE 8 Fact Sheet - Omnichannel Retail Data at unmatched Speed and            NXP-IMP-NDCAL-00004735-               Zenz;                           Not relevant to
                      Accuracy                                                                           NXP-IMP-NDCAL-00004736              Kodritsch;                             retrial
                                                                                                                                               Zach
1174      3/2019      NXP presentation: Improving the product journey with UCODE® 8                      NXP-IMP-NDCAL-00004829              Kodritsch                         Not relevant to
                                                                                                                                                                                    retrial
1175     6/20/2012    Customer Requirements Specification, BiC UCODE, Doc Rev 4 Approved                 NXP-IMP-NDCAL-00004830-              Bischof;                         Not relevant to
                                                                                                         NXP-IMP-NDCAL-00004847              Kodritsch                              retrial
1197     7/20/2015    UCODE 8 Update Meeting                                                             NXP-IMP-NDCAL-00005232              Kodritsch;                        Not relevant to
                                                                                                                                               Zach                                 retrial
1214     10/17/2016   NXP Semiconductors System Requirements for UCODE 8, Rev 1.0                        NXP-IMP-NDCAL-00005836-               Zenz                            Not relevant to
                                                                                                         NXP-IMP-NDCAL-00005848                                                     retrial
1219      Undated     Excel: UCODE 7 Large Pad Summary                                                   NXP-IMP-NDCAL-00048182            Subramanian                         Not relevant to
                                                                                                                                                                                    retrial
1222      Undated     NXP presentation: NXP - HID                                                        NXP-IMP-NDCAL-00206213              Kodritsch                        F, 402, 403, 802,
                                                                                                                                                                               not relevant to
                                                                                                                                                                                    retrial
1229     3/26/2014    Impinj Enduro Technology Overview; Rev. 2.0                                        NXP-IMP-NDCAL-00206329-               Diorio;             X
                                                                                                         NXP-IMP-NDCAL-00206340            Heinrich; Zenz;
                                                                                                                                             Kodritsch;
                                                                                                                                                Zach

1230     6/27/2016    NXP Semiconductors Outline Project Plan / Project Management Plan for Large Pad NXP-IMP-NDCAL-00206346-               Kodritsch;                         Not relevant to
                      UCODE7, Rev. 2.0                                                                NXP-IMP-NDCAL-00206370                   Zenz                                  retrial
1231      Undated     NXP presentation slide: Mega Bump UCODE 7 organizational chart                  NXP-IMP-NDCAL-00206371                Kodritsch;                         F, 402, 403, not
                                                                                                                                               Zenz                           relevant to retrial
1232     12/9/2016    NXP Semiconductor Pre-Assembly Process Delta Qualification Report for Large Pad NXP-IMP-NDCAL-00206375-              Subramanian;                         not relevant to
                      Ucode7                                                                          NXP-IMP-NDCAL-00206388                   Zenz                                  retrial
1233     12/24/2016   NXP presentation: Product Analysis Report, UCODE 7 Large Pads                   NXP-IMP-NDCAL-00206389-              Subramanian;                         not relevant to
                                                                                                      NXP-IMP-NDCAL-00206398                   Zenz                                  retrial
1234      3/5/2018    NXP presentation: Product Analysis Report, U8-PTC-Large-Pad Qual                NXP-IMP-NDCAL-00206429               Subramanian;                         not relevant to
                                                                                                                                               Zenz                                  retrial
1235      Undated     Bump Mask Drawings                                                                 NXP-IMP-NDCAL-00206456-           Subramanian;                         not relevant to
                                                                                                         NXP-IMP-NDCAL-00206462                Zenz                                  retrial
1243     6/16/2011    U.S. Patent Application Publication No. 2011/0139501; Ching-San et al.             NXP-IMP-NDCAL-00206971-           Subramanian             X
                                                                                                         NXP-IMP-NDCAL-00206979
1244     6/16/2011    U.S. Patent Application Publication No. 2011/0139878; Grasset                      NXP-IMP-NDCAL-00206980-           Subramanian                        F, 402, Not within
                                                                                                         NXP-IMP-NDCAL-00206987                                                scope of retrial

1246      8/2/2012    U.S. Patent Application Publication No. 2012/0193804; Grasset                      NXP-IMP-NDCAL-00207019-           Subramanian                        F, 402, Not within
                                                                                                         NXP-IMP-NDCAL-00207027                                                scope of retrial




                                                                                               Page 16 of 20
                                     Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 18 of 21
                                                                                         Impinj, Inc. v. NXP USA, Inc.
                                                                  U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                           JOINT TRIAL EXHIBIT LIST
                                                                                               (January 24, 2024)

Exh. #      Date      Description                                                                        Bates Number                         Sponsoring     Stipulation to      Objection            Date
                                                                                                                                                Witness          Admit                              Admitted
1247      9/8/1998    U.S. Patent No. 5,804,882; Tsukagoshi et al.                                       NXP-IMP-NDCAL-00207069-              Subramanian                     F, 402, Not within
                                                                                                         NXP-IMP-NDCAL-00207079                                                scope of retrial

1248      8/22/2000   U.S. Patent No. 6,107,920; Eberhardt et al.                                        NXP-IMP-NDCAL-00207080-              Subramanian                     F, 402, Not within
                                                                                                         NXP-IMP-NDCAL-00207094                                                scope of retrial

1249      2/6/2001    U.S. Patent No. 6,184,581; Cornell et al.                                          NXP-IMP-NDCAL-00207103-              Subramanian                     F, 402, Not within
                                                                                                         NXP-IMP-NDCAL-00207109                                                scope of retrial

1250      9/24/2009   International Patent Publication No. WO 2009/115673; Grasset (Translation &        NXP-IMP-NDCAL-00207378-              Subramanian                     F, 402, Not within
                      Original)                                                                          NXP-IMP-NDCAL-00207424                                                scope of retrial

1251      2/10/2011   International Patent Publication No. WO 2011/015732; Grasset (Translation &        NXP-IMP-NDCAL-00207452-              Subramanian                     F, 402, Not within
                      Original)                                                                          NXP-IMP-NDCAL-00207503                                                scope of retrial

1252      1/25/1994   U.S. Patent No. 5,281,855; Hadden et al.                                           NXP-IMP-NDCAL-00207799-              Subramanian                     F, 402, Not within
                                                                                                         NXP-IMP-NDCAL-00207806                                                scope of retrial

1255     12/15/2020   NXP Semiconductors SL3S1206 UCODE 9 Product data sheet, Rev. 3.0                   NXP-IMP-NDCAL-00207839-                 Zenz;                         Not relevant to
                                                                                                         NXP-IMP-NDCAL-00207867               Subramanian                           retrial

1257     August 2018 NXP UCODE 9 - Concept Working Document                                              NXP-IMP-NDCAL-00208058                  Zenz                          Not relevant to
                                                                                                                                                                                     retrial
1261      3/24/2021   NXP presentation: UCODE 9 - Tageos samples                                         NXP-IMP-NDCAL-00208205                  Zenz                         F, 402, 403, 802,
                                                                                                                                                                                not relevant to
                                                                                                                                                                                     retrial
1262      12/3/2020   NXP Semiconductors SL3S1206 UCODE 9 Preliminary Data Sheet, Rev. 2.0               NXP-IMP-NDCAL-00208318-                 Zenz                          Not relevant to
                                                                                                         NXP-IMP-NDCAL-00208346                                                      retrial
1263     12/15/2020   NXP Semiconductors SL3S1206 UCODE 9 Data Sheet, Rev. 3.0                           NXP-IMP-NDCAL-00208347-                 Zenz                          Not relevant to
                                                                                                         NXP-IMP-NDCAL-00208375                                                      retrial
1270      Undated     UCODE 8 and UCODE 9 pad layout                                                     NXP-IMP-NDCAL-00208499                  Zenz                          Not relevant to
                                                                                                                                                                                     retrial
1287      Undated     Technical Information for Monopox AC6530                                           NXP-IMP-NDCAL-00209150-              Subramanian                     F, 402, 403, 802,
                                                                                                         NXP-IMP-NDCAL-00209152                                                 not relevant to
                                                                                                                                                                                     retrial
1289      Undated     UCODE 7 photograph of chip with bumps without large pads                           NXP-IMP-NDCAL-00209510                  Zenz;                         F, 402, 403, not
                                                                                                                                              Subramanian                     relevant to retrial

1290      Undated     UCODE 8 Large Pad photograph                                                       NXP-IMP-NDCAL-00209511                  Zenz;                         Not relevant to
                                                                                                                                              Subramanian                           retrial

1292      7/24/2009   HTCICC64 HITAG μ RO64 transponder IC Product data sheet, Rev. 3.1                  NXP-IMP-NDCAL-00209666-                 Zenz;                        F, 402, 403, MIL,
                                                                                                         NXP-IMP-NDCAL-00209678                Kodritsch;                      not relevant to
                                                                                                                                              Subramanian;                          retrial
                                                                                                                                                  Zach
1293      3/18/2010   NXP - HITAG μ Product Data Sheet                                                   NXP-IMP-NDCAL-00209679-                 Zenz;                        F, 402, 403, MIL,
                      ISO 18000 transponder IC - 184430                                                  NXP-IMP-NDCAL-00209722                Kodritsch;                      not relevant to
                      Rev. 3.0                                                                                                                Subramanian;                          retrial
                                                                                                                                                  Zach
1310        2009      NXP low-frequency HITAG-μ Ics Fact Sheet - 4th generation HITAG for advanced,      None                                    Zenz;                        F, 402, 403, MIL,
                      low-cost RFID                                                                                                           Subramanian;                     not relevant to
                                                                                                                                                  Zach                              retrial




                                                                                               Page 17 of 20
                                     Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 19 of 21
                                                                                        Impinj, Inc. v. NXP USA, Inc.
                                                                 U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                          JOINT TRIAL EXHIBIT LIST
                                                                                              (January 24, 2024)

Exh. #     Date       Description                                                                         Bates Number                        Sponsoring    Stipulation to      Objection            Date
                                                                                                                                               Witness          Admit                              Admitted
1311     8/15/2022    NXP Semiconductors SL3S1203_1213 UCODE G2IL and G2IL+ Product Data                  None                                  Zenz;                         F, 402, 403, not
                      Sheet, Rev. 4.4                                                                                                        Subramanian;                    relevant to retrial
                                                                                                                                                 Zach
1312     8/15/2022    NXP Semiconductors SL3ICS1002/1202 UCODE G2XM and G2XL Product Data                 None                                  Zenz;                         F, 402, 403, not
                      Sheet, Rev. 3.8                                                                                                        Subramanian;                    relevant to retrial
                                                                                                                                                 Zach
1313     12/2/2021    NXP Semiconductors SL3S1205_15 UCODE 8/8m Product Data Sheet, Rev. 3.6              None                                   Zenz                         Not relevant to
                                                                                                                                                                                   retrial
1314     11/11/2013   SL3ICS1002/1202 UCODE G2XM and G2XL Product data sheet, Rev. 3.8 (available None                                          Zenz                          F, 402, 403, not
                      at                                                                                                                                                     relevant to retrial
                      http://www.orangetags.com/wpcontent/downloads/datasheet/NXP/SL3S1203_1213.p
                      df)
1318     8/15/2022    Curriculum Vitae of Vivek Subramanian                                       None                                       Subramanian                          F, 802

1339      Undated     Drawing representing surface of an IC                                               None                               Subramanian                        F, 402, 403

1340     1/21/2015    Sketch of hypothetical top view with orange antenna contacts and blue channel for   None                                Thompson;                         F, 402, 403
                      adhesive between them                                                                                                  Subramanian

1369     6/25/1991    U.S. Patent No. 5,025,550; Zirbes et al.                                            None                               Subramanian                      F, 402, 403, not
                                                                                                                                                                             relevant to retrial
1376      5/4/2017    Impinj, Inc. Q1 2017 Earnings Call Transcript, May 4, 2017                          None                                  Diorio                        F, 402, 802, not
                                                                                                                                                                             relevant to retrial
1377      8/3/2017    Impinj, Inc. Q2 2017 Earnings Call Transcript, August 3, 2017                       None                                  Diorio                        F, 402, 802, not
                                                                                                                                                                             relevant to retrial
1378     11/1/2017    Impinj, Inc. Q3 2017 Earnings Call Transcript, November 1, 2017                     None                                  Diorio                        F, 402, 802, not
                                                                                                                                                                             relevant to retrial
1379     2/15/2018    Impinj, Inc. Q4 2017 Earnings Call Transcript, February 15, 2018                    None                                  Diorio                        F, 402, 802, not
                                                                                                                                                                             relevant to retrial
1380      5/7/2018    Impinj First Quarter Earnings Conference Call transcript, May 7, 2018               None                                  Diorio                        F, 402, 802, not
                                                                                                                                                                             relevant to retrial
1381     9/13/2018    Impinj, Inc. Q2 2018 Earnings Call Transcript, September 13, 2018                   None                                  Diorio                        F, 402, 802, not
                                                                                                                                                                             relevant to retrial
1382     10/29/2018   Impinj, Inc. Q3 2018 Earnings Call Transcript, October 29, 2018                     None                                  Diorio                        F, 402, 802, not
                                                                                                                                                                             relevant to retrial
1383     2/20/2019    Impinj, Inc. Q4 2018 Earnings Call Transcript, February 20, 2019                    None                                  Diorio                        F, 402, 802, not
                                                                                                                                                                             relevant to retrial
1384     4/29/2019    Impinj, Inc. Q1 2019 Earnings Call Transcript, April 29, 2019                       None                                  Diorio                        F, 402, 802, not
                                                                                                                                                                             relevant to retrial
1385     7/29/2019    Impinj, Inc. Q2 2019 Earnings Call Transcript, July 29, 2019                        None                                  Diorio                        F, 402, 802, not
                                                                                                                                                                             relevant to retrial
1386     11/4/2019    Impinj, Inc. Q3 2019 Earnings Call Transcript, November 4, 2019                     None                                  Diorio                        F, 402, 802, not
                                                                                                                                                                             relevant to retrial
1387      3/2/2020    Impinj, Inc. Q4 2019 Earnings Call Transcript, March 2, 2020                        None                                  Diorio                        F, 402, 802, not
                                                                                                                                                                             relevant to retrial
1388     4/27/2020    Impinj, Inc. Q1 2020 Earnings Call Transcript, April 27, 2020                       None                                  Diorio                        F, 402, 802, not
                                                                                                                                                                             relevant to retrial
1389     7/29/2020    Impinj, Inc. Q2 2020 Earnings Call Transcript, July 29, 2020                        None                                  Diorio                        F, 402, 802, not
                                                                                                                                                                             relevant to retrial
1390     10/28/2020   Impinj, Inc. Q3 2020 Earnings Call Transcript, October 28, 2020                     None                                  Diorio                        F, 402, 802, not
                                                                                                                                                                             relevant to retrial
1391      2/9/2021    Impinj Fourth-Quarter 2021 Earnings Conference Call Transcript, February 9, 2021    None                                  Diorio                        F, 402, 802, not
                                                                                                                                                                             relevant to retrial




                                                                                                Page 18 of 20
                                     Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 20 of 21
                                                                                       Impinj, Inc. v. NXP USA, Inc.
                                                                U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                         JOINT TRIAL EXHIBIT LIST
                                                                                             (January 24, 2024)

Exh. #     Date       Description                                                                            Bates Number                   Sponsoring    Stipulation to      Objection            Date
                                                                                                                                             Witness          Admit                              Admitted
1392     2/10/2021    Impinj, Inc. Q4 2020 Earnings Call Transcript, February 10, 2021                       None                             Diorio                        F, 402, 802, not
                                                                                                                                                                           relevant to retrial
1393     4/28/2021    Impinj, Inc. Q1 2021 Earnings Call Transcript, April 28, 2021                          None                              Diorio                       F, 402, 802, not
                                                                                                                                                                           relevant to retrial
1394     7/28/2021    Impinj, Inc. Q2 2021 Earnings Call Transcript, July 28, 2021                           None                              Diorio                       F, 402, 802, not
                                                                                                                                                                           relevant to retrial
1395     10/27/2021   Impinj, Inc. Q3 2021 Earnings Call Transcript, October 27, 2021                        None                              Diorio                       F, 402, 802, not
                                                                                                                                                                           relevant to retrial
1396     4/27/2022    Impinj, Inc. Q1 2022 Earnings Call Transcript, April 27, 2022                          None                              Diorio                       F, 402, 802, not
                                                                                                                                                                           relevant to retrial
1397     7/27/2022    Impinj, Inc. Q2 2022 Earnings Call Transcript, July 27, 2022                           None                              Diorio                       F, 402, 802, not
                                                                                                                                                                           relevant to retrial
1402      Undated     NXP History (https://www.nxp.com/company/about-nxp/history:NXP-HISTORY)                None                            Kodritsch                        F, 402, 802

1403      Undated     We Are NXP (https://www.nxp.com/company/about-nxp/we-are-nxp:WE-ARE-NXP)               None                            Kodritsch                        F, 402, 803

1404      Undated     About NXP (https://www.nxp.com/company/about-nxp:ABOUT-NXP)                            None                            Kodritsch                        F, 402, 804
1405      Undated     NXP in the United States (https://www.nxp.com/company/about-nxp/worldwide-             None                            Kodritsch                        F, 402, 805
                      locations/united-states:USA)
1408     11/17/2021   Impinj Amended Infringement Contentions Ex. F-1 - Infringement Claim Chart for         None                           Subramanian                     Not relevant to
                      U.S. Patent No. 9,633,302                                                                                                                                  retrial
1413     4/25/2022    Impinj, Inc.'s Second Supplemental Responses to NXP USA, Inc.'s First Set of           None                             Heinrich;         X
                      Interrogatories (Nos. 1-2)                                                                                               Diorio;
                                                                                                                                             Thompson;
                                                                                                                                            Subramanian

1414     4/25/2022    Impinj, Inc.'s Supplemental Response to NXP USA, Inc.'s Third Set of Interrogatories None                                Diorio;          X
                      (Nos. 5-11)                                                                                                             Dossett;
                                                                                                                                              Heinrich
1415     9/27/2021    Impinj, Inc.’s Objections and Responses to NXP USA, Inc.’s Third Set of                None                              Diorio;          X
                      Interrogatories (Nos. 5-12)                                                                                             Dossett;
                                                                                                                                              Heinrich
1419     3/31/2022    Designated testimony from the deposition of Kurt Bischof, taken on March 31, 2022      None                             Bischof
                      (N.D. Cal.)
1424      8/5/2022    Designated testimony from the deposition of Paul Davies, taken on August 5, 2022       None                             Davies
                      (W.D. Tex.)
1425     4/13/2022    Designated testimony from the deposition of Christopher Diorio, taken on April 13,     None                              Diorio
                      2022 (N.D. Cal.)
1426     4/14/2022    Designated testimony from the deposition of Christopher Diorio, taken on April 14,     None                              Diorio
                      2022 (N.D. Cal.)
1427     4/25/2022    Designated testimony from the deposition of Jeff Dossett, taken on April 25, 2022      None                             Dossett
                      (N.D. Cal.)
1428     11/14/2022   Designated testimony from the deposition of Jeff Dossett, taken on November 14,        None                             Dossett
                      2022 (W.D. Wash.)
1429     4/20/2022    Designated testimony from the deposition of Harley Heinrich, taken on April 20, 2022   None                             Heinrich
                      (N.D. Cal.)
1430     4/21/2022    Designated testimony from the deposition of Harley Heinrich, taken on April 21, 2022   None                             Heinrich
                      (N.D. Cal.)
1432     5/10/2022    Designated testimony from the deposition of Ralf Kodritsch, taken on May 10, 2022      None                            Kodritsch
                      (N.D. Cal.)
1436     4/20/2022    Designated testimony from the deposition of Ron Oliver, taken on April 20, 2022        None                              Oliver
                      (N.D. Cal.)




                                                                                                Page 19 of 20
                                    Case 4:19-cv-03161-YGR Document 504-1 Filed 01/24/24 Page 21 of 21
                                                                                      Impinj, Inc. v. NXP USA, Inc.
                                                               U.S.D.C., Northern District of California, Case No. 4:19‐cv‐03161‐YGR‐VKD
                                                                                        JOINT TRIAL EXHIBIT LIST
                                                                                            (January 24, 2024)

Exh. #     Date       Description                                                                          Bates Number                    Sponsoring   Stipulation to     Objection            Date
                                                                                                                                            Witness         Admit                             Admitted
1437     4/21/2022    Designated testimony from the deposition of Ron Oliver, taken on April 21, 2022      None                              Oliver
                      (N.D. Cal.)
1438      2/1/2023    Designated testimony from the deposition of Ron Oliver, taken on February 1, 2023    None                              Oliver
                      (W.D. Tex.)
1443     4/20/2022    Designated testimony from the deposition of Nigel Stott, taken on April 20, 2022     None                               Stott
                      (N.D. Cal.)
1446     5/13/2022    Designated testimony from the deposition of Hermann Zach, taken on May 13, 2022      None                              Zach
                      (N.D. Cal.)
1447     1/20/2023    Designated testimony from the deposition of Hermann Zach, taken on January 20,       None                              Zach
                      2023 (W.D. Tex.)
1448      4/6/2022    Designated testimony from the deposition of Christian Zenz, taken on April 6, 2022   None                               Zenz
                      (N.D. Cal.)
1456     10/22/2012   UCODE BIC Floorplanning                                                              NXP-IMP-NDCAL-00209054 -           Zenz                        402, 403, not
                                                                                                           NXP-IMP-NDCAL-00209071                                           relevant to
                                                                                                                                                                         invalidity retrial
1457     6/27/2016    Outline Project Plan / Project Management Plan Large Pad UCODE 7                     NXP-IMP-NDCAL-00206346 -           Zenz                        402, 403, not
                                                                                                           NXP-IMP-NDCAL-00206370                                           relevant to
                                                                                                                                                                         invalidity retrial
1458     12/9/2004    Optimized process flow for ultra-thin chips, made of commercialized wafer            NXP-IMP-NDCAL-00004889 -           Zenz                        402, 403, not
                                                                                                           NXP-IMP-NDCAL-00004909                                         produced, not
                                                                                                                                                                            relevant to
                                                                                                                                                                         invalidity retrial
1459     6/11/2019    Q&A regarding lawsuit                                                                IMPINJ_NXP_0047176 -              Diorio                       402, 403, not
                                                                                                           IMPINJ_NXP_0047177                                               relevant to
                                                                                                                                                                         invalidity retrial
1460      6/5/2019    CEO Letter: Patent-Infirngement Lawsuit Filed Against NXP                            IMPINJ_NXP_0046684 -              Diorio                       402, 403, not
                                                                                                           IMPINJ_NXP_0046686                                               relevant to
                                                                                                                                                                         invalidity retrial
1461     10/26/2022   Impinj, Inc. Q3 2022 Earnings Call Transcript, October 26, 2022                      None                              Diorio                       402, 403, not
                                                                                                                                                                          produced, not
                                                                                                                                                                            relevant to
                                                                                                                                                                         invalidity retrial
1462      2/8/2023    Impinj, Inc. Q4 2022 Earnings Call Transcript, February 8, 2023                      None                              Diorio                       402, 403, not
                                                                                                                                                                          produced, not
                                                                                                                                                                            relevant to
                                                                                                                                                                         invalidity retrial




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